        Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 1 of 97




                 Exhibit 7
REDACTED VERSION OF DOCUMENT SOUGHT TO BE FILED UNDER SEAL
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 2 of 97
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1                         UNITED STATES DISTRICT COURT
2                      NORTHERN DISTRICT OF CALIFORNIA
3
4    IN RE: FACEBOOK, INC. CONSUMER ) MDL No. 2843
5    PRIVACY USER PROFILE LITIGATION) Case No.
6    _______________________________) 18-md-02843-VC
7    This document relates to:                    )
8    ALL ACTIONS                                  )
9    _______________________________)
10
11
12
13    *** HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY ***
14
15
16     REMOTE VIDEOTAPED DEPOSITION BY VIRTUAL ZOOM OF
17                   FACEBOOK INC. REPRESENTATIVE,
18                    KONSTANTINOS PAPAMILTIADIS
19                    TUESDAY, FEBRUARY 23, 2021
20
21
22   Reported by:
23   Ashala Tylor, CSR #2436, CLR, CRR, RPR
24   JOB NO. 4473154
25   PAGES 1 - 280

                                                                Page 1

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 3 of 97
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1                        UNITED STATES DISTRICT COURT
2                      NORTHERN DISTRICT OF CALIFORNIA
3
4    IN RE: FACEBOOK, INC. CONSUMER ) MDL No. 2843
5    PRIVACY USER PROFILE LITIGATION) Case No.
6    _______________________________) 18-md-02843-VC
7    This document relates to:                  )
8    ALL ACTIONS                                )
9    _______________________________)
10
11
12
13
14
15
16         Videotaped deposition of FACEBOOK, INC.
17   REPRESENTATIVE, KONSTANTINOS PAPAMILTIADIS taken via
18   virtual Zoom, commencing at 9:10 a.m. and ending at
19   3:58 p.m., on Tuesday, February 23, 2021, before Ashala
20   Tylor, CSR No. 2436, RPR, CRR, CLR.
21
22
23
24
25

                                                                Page 2

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1    APPEARANCES OF COUNSEL:
2    FOR THE PLAINTIFF:
3             BLEICHMAR FONTI & AULD LLP
4             BY:     LESLEY E. WEAVER, ESQ.
5                     ANNE DAVIS, ESQ.
6                     MATTHEW MONTGOMERY, ESQ.
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                                                                Page 3

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1    A P P E A R A N C E S (continued)
2    FOR PLAINTIFFS:
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                                                                Page 4

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 6 of 97
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1    A P P E A R A N C E S (continued)
2    FOR THE DEFENDANT FACEBOOK, INC.:
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10              mkutscherClark@gibsondunn.com
11                             - and -
12              GIBSON DUNN & CRUTCHER LLP
13              BY:     LAURA MUMM, ESQ.
14              200 Park Avenue, 47th Floor
15              New York, New York                 10166
16              212.351.4000
17              lmumm@gibsondunn.com
18
19   Also Present:
20            Ian Chen, In-House Facebook Counsel
21            Kimberly Decker, Videographer
22
23
24
25

                                                                   Page 5

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 7 of 97
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1                                 I N D E X
2    WITNESS                EXAMINATION BY                              PAGE
3    KONSTANTINOS PAPAMILTIADIS
4                           Ms. Weaver                              9, 171
5
6                            E X H I B I T S
7    NO.                DESCRIPTION                                     PAGE
8    Exhibit 1          Plaintiffs’ Amended Notice of                     10
9                       Deposition of Defendant Facebook,
10                      Inc. Pursuant to Federal Rule of
11                      Civil Procedure 30(b)(6)
12   Exhibit 2          Discovery Order No. 9                             10
13                      (Dkt. Nos. 515, 526, 537, 548)
14   Exhibit 3          Email from Simone LiTrenta to                     49
15                      Matt Scutari and others, 5-8-14,
16                      FB CA MDL 00213423 - 443
17   Exhibit 4          Email exchange, top one from                     240
18                      Simon Cross to Steven Elia,
19                      1-29-15, FB-CA-MDL-00227697 - 699
20   Exhibit 5          Excel spreadsheet,                               265
21                      FB-CA-MDL-01434884.csv
22   Exhibit 6          Excel spreadsheet,                               266
23                      FB-CA-MDL-01434885.csv
24                   Instruction Not to Answer
25                         Page 91, LIne 9

                                                                Page 6

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 8 of 97
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1                    Tuesday, February 23, 2021

2                              9:10 a.m.

3                               --o0o--

4

5                 THE VIDEOGRAPHER:     Good morning.     We are         09:10

6    going on the record at 9:10 a.m. on February 23rd of                09:10

7    2021.     All participants are attending remotely.                  09:10

8                 Audio and video recording will continue to             09:10

9    take place unless all parties agree to go off the                   09:10

10   record.                                                             09:10

11                This is Media Unit 1 of the recorded                   09:10

12   deposition of Facebook, Inc. representative,                        09:10

13   Konstantinos Papamiltiadis, taken by counsel for the                09:10

14   plaintiffs in the matter of Facebook, Inc. Consumer                 09:10

15   Privacy User Profile Litigation filed in the                        09:10

16   United States District Court, Northern District of                  09:10

17   California, Case Number 18-md-02843-VC.                             09:10

18                My name is Kimberly Decker from Veritext               09:10

19   Legal Solutions and I'm the videographer.           The court       09:10

20   reporter is Ashala Tylor.        I'm not related to any             09:10

21   party in this action, nor am I financially                          09:11

22   interested in the outcome.                                          09:11

23                Counsel and all present will now state                 09:11

24   their appearances and affiliations for the record.                  09:11

25   If there are any objections to proceeding, please                   09:11

                                                                     Page 7

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 9 of 97
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1    state them at the time of your appearance, beginning                09:11

2    with the noticing attorney.                                         09:11

3               MS. WEAVER:     Good morning, everybody.       I'm       09:11

4    Lesley Weaver, co-lead counsel for plaintiffs and                   09:11

5    from Bleichmar Fonti & Auld.                                        09:11

6               MS. DAVIS:     Good morning.      Anne Davis also        09:11

7    for plaintiffs, Bleichmar Fonti & Auld.                             09:11

8               MR. MONTGOMERY:     Matthew Montgomery for               09:11

9    plaintiffs, Bleichmar Fonti & Auld.                                 09:11

10              MR. MELAMED:     Matt Melamed for plaintiffs,            09:11

11   Bleichmar Fonti & Auld.                                             09:11

12              MS. LAUFENBERG:     Cari Laufenberg for                  09:11

13   plaintiffs from Keller --                                           09:11

14              THE REPORTER:     I'm sorry, one more time,              09:11

15   please.                                                             09:11

16              MS. LAUFENBERG:     Cari Laufenberg for                  09:11

17   plaintiffs from Keller Rohrback.                                    09:11

18              MR. KO:   David Ko of Keller Rohrback also               09:11

19   on behalf of the plaintiffs.       Good morning.                    09:12

20              MR. LOESER:     Good morning.       Derek Loeser         09:12

21   from Keller Rohrback for plaintiffs.                                09:12

22              MS. STEIN:     Are you ready for defendant?              09:12

23              Deborah Stein from Gibson, Dunn on behalf                09:12

24   of defendant Facebook.                                              09:12

25              MS. CLARK:     Martie Kutscher Clark from                09:12

                                                                     Page 8

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 10 of 97
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1    Gibson, Dunn also on behalf of Facebook.                            09:12

2               MS. MUMM:     Laura Mumm from Gibson, Dunn on            09:12

3    behalf of Facebook.                                                 09:12

4               MR. CHEN:     And this is Ian Chen.       I am           09:12

5    in-house counsel for Facebook.                                      09:12

6               THE VIDEOGRAPHER:      Would the court                   09:12

7    reporter please swear in the witness.                               09:12

8                                                                        09:13

9                     KONSTANTINOS PAPAMILTIADIS,                        09:13

10      being first duly sworn or affirmed to testify                    09:13

11      to the truth, the whole truth, and nothing but                   09:13

12      the truth, was examined and testified as follows:                09:13

13              THE REPORTER:     Proceed, Counsel.                      09:13

14                           EXAMINATION                                 09:13

15   BY MS. WEAVER:                                                      09:13

16         Q.   Good morning.     And thank you very much for            09:13

17   being here this morning and as we adjust to this new                09:13

18   process.                                                            09:13

19              May I address you as K.P. throughout the                 09:13

20   deposition or would you prefer Mr. Papamiltiadis?                   09:13

21         A.   I don't need to ask counsel's permission                 09:13

22   to answer that question.      I guess you can.                      09:13

23         Q.   All right.     You come prepared.                        09:13

24              I'm going to start by marking a couple of                09:13

25   exhibits, and I think that you've practiced with                    09:13

                                                                 Page 9

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 11 of 97
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1    BY MS. WEAVER:                                                        09:57

2           Q.   Do you have an Exhibit 3?                                 09:57

3           A.   So we're going to 3?                                      09:57

4           Q.   We are going to 3.                                        09:58

5           A.   Okay.   I don't see it yet.                               09:58

6           Q.   I think you might need to refresh.                        09:58

7                Do you have Exhibit 3 yet?                                09:58

8           A.   Yes.                                                      09:58

9           Q.   Okay.                                                     09:58

10               MS. WEAVER:      For the record, Exhibit 3 is             09:58

11   an email dated May 8, 2014, with some attachments.                    09:58

12          Q.   Have you seen Exhibit 3 before?                           09:58

13          A.   No, I haven't.                                            09:58

14          Q.   Okay.   Did --                                            09:58

15               MS. STEIN:     Why don't you give the witness             09:58

16   an opportunity to review the document.                                09:58

17               MS. WEAVER:      Okay.   Thanks, Deb.     You were        09:58

18   about to get in trouble.                                              09:58

19          Q.   So there's the cover email, K.P., but if                  09:58

20   you look at the attachment, and I direct your                         09:58

21   attention to the Bates number that ends with 424.                     09:58

22   Remember the -- if you look at the bottom there.                      09:58

23               THE WITNESS:      Yes, I've seen those pages,             09:58

24   yes.                                                                  09:59

25

                                                                      Page 50

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 12 of 97
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1    BY MS. WEAVER:                                                       09:59

2          Q.    Okay.     And when did you last see them?                09:59

3          A.    Either yesterday or Friday.                              09:59

4          Q.    When did you first see them?                             09:59

5          A.    Maybe Friday.                                            09:59

6          Q.    Okay.     You hadn't seen them before Friday?            09:59

7          A.    No.                                                      09:59

8          Q.    Is that right?     Okay.                                 09:59

9                Do you have an understanding as to what                  09:59

10   Exhibit 3 is?                                                        09:59

11         A.    I don't know the contents of the email,                  09:59

12   but I think I can understand the page that you asked                 09:59

13   me to look at, what it meant to be.                                  09:59

14         Q.    Okay.     And what is your understanding?                09:59

15         A.    It's definition of different data that                   09:59

16   Facebook may have accessed.                                          09:59

17         Q.    Okay.     And let me back up again.       This is        09:59

18   foundational.       Do people communicate by email at                09:59

19   Facebook?                                                            09:59

20         A.    It's one of the ways to communicate, yes.                09:59

21         Q.    How else do people communicate in the                    09:59

22   course of doing business at Facebook?                                09:59

23         A.    We use a version of the product that is                  09:59

24   designed for the business world called Workplace.                    09:59

25   We use a version of our Messenger product, which is                  10:00

                                                                     Page 51

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 13 of 97
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1    also an example, a device called Workset.                   We use            10:00

2    emails.     We use        .     We use other                                  10:00

3    videoconferencing facilities.             We use our telephones               10:00

4    to call each other.           Different ways.                                 10:00

5           Q.    And people text as well; is that right?                          10:00

6           A.    We don't like text messaging.                We have our         10:00

7    own messaging apps.                                                           10:00

8           Q.    Just out of curiosity, is the Facebook                           10:00

9    Messenger that people that work at Facebook use, is                           10:00

10   that different than the Facebook Messenger that                               10:00

11   users on the platform use, or is it the same?                                 10:00

12          A.    I mean I use Messenger the same way you                          10:00

13   would use it.        But internally I don't use that                          10:00

14   version of the product.           I use an Enterprise                         10:00

15   personal product --                                                           10:00

16          Q.    Okay.                                                            10:00

17          A.    -- which is called Workset.                                      10:00

18          Q.    And what's the difference functionally                           10:00

19   between those two?                                                            10:00

20                MS. STEIN:        Objection.     This is like way                10:00

21   beyond the scope about what employees at Facebook                             10:00

22   use.                                                                          10:01

23                MS. WEAVER:        Okay.   Fine.     It's fine.         I        10:01

24   was trying to establish a foundation, but I guess we                          10:01

25   can come back to that in another deposition.                                  10:01

                                                                              Page 52

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 14 of 97
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1           Q.    So, K.P., back to Exhibit 3.        Do you who         10:01

2    Simone LiTrenta is?                                                 10:01

3           A.    No.                                                    10:01

4           Q.    Okay.   Looking at just the cover email, do            10:01

5    you recognize the names of anybody on this email as                 10:01

6    individuals who work at Facebook?                                   10:01

7           A.    I recognize Matt Scutari, Rob Sherman, and             10:01

8    Erin Egan.                                                          10:01

9           Q.    And you understand that those are                      10:01

10   employees of Facebook during the time this email was                10:01

11   written; is that right?                                             10:01

12          A.    That is 2014?   Yes, I believe so.                     10:01

13          Q.    Okay.   And do you believe Exhibit 3 to be             10:01

14   an email sent by employees at Facebook in the                       10:01

15   regular course of business?                                         10:01

16          A.    Yes, that looks like.                                  10:01

17          Q.    Okay.   Do you have an understanding as to             10:01

18   what the materials that are attached to this email                  10:02

19   are?                                                                10:02

20          A.    I think it's a set of definitions that --              10:02

21   or slides that were meant to be presented at an                     10:02

22   off-site.                                                           10:02

23          Q.    Okay.   And what is -- do you know what the            10:02

24   global policy team is?                                              10:02

25          A.    Yes.                                                   10:02

                                                                   Page 53

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 15 of 97
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1          Q.     What is it?                                              10:02

2          A.     It's a team that is responsible for our                  10:02

3    relationships with governments and regulators.                        10:02

4          Q.     Okay.   And just again by way of                         10:02

5    understanding how Facebook functions, you see                         10:02

6    there's a             hyperlink here in the email?                    10:02

7          A.     Yes.                                                     10:02

8          Q.     Does Facebook also use               ?                   10:02

9                 MS. STEIN:    Objection to form.         This            10:02

10   isn't -- not an ESI depo and he is not testifying                     10:02

11   about what Facebook uses internally.            Let's focus on        10:02

12   the subjects that he's here for.                                      10:02

13                MS. WEAVER:     I'm trying to understand if              10:02

14   this document is complete, and that's a little bit                    10:02

15   difficult to do.      So are you going to instruct him                10:03

16   not to answer?                                                        10:03

17                MS. STEIN:    Is there a reason why you                  10:03

18   think the document is not complete?                                   10:03

19                MS. WEAVER:     Okay.   Let me question.                 10:03

20         Q.     So is it true that Facebook -- people use                10:03

21              at Facebook to share document files?                       10:03

22         A.     Can I answer?                                            10:03

23         Q.     Yes.                                                     10:03

24         A.     Sorry, I was looking at the document.                    10:03

25         Q.     No problem.                                              10:03

                                                                      Page 54

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 16 of 97
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1            A.      It's -- it's true that for files that are            10:03

2    concise that are too big to send by email we would                   10:03

3    use              .                                                   10:03

4            Q.      Okay.   Is there any way to know whether or          10:03

5    not a hard copy version of a document like this was                  10:03

6    everything that was contained in the hyperlink or                    10:03

7    would you have to see it in native form?                             10:03

8                    MS. STEIN:    Objection to form.                     10:03

9                    Lesley, next.                                        10:03

10   BY MS. WEAVER:                                                       10:03

11           Q.      Please answer the question.                          10:03

12           A.      I'm not sure I understand exactly what you           10:03

13   saying.        I don't even know what you have printed               10:03

14   out, so I cannot really establish whether it's a                     10:03

15   complete document or not.                                            10:03

16           Q.      Okay.   Is there -- normally -- let me ask           10:03

17   this.        Does Facebook maintain document like --                 10:04

18   documents like this in PDF form or are they native?                  10:04

19                   MS. STEIN:    Objection to form.                     10:04

20                   Lesley, move on.                                     10:04

21   BY MS. WEAVER:                                                       10:04

22           Q.      Please answer the question.                          10:04

23                   MS. STEIN:    It's not an ESI deposition.            10:04

24   Move on.                                                             10:04

25                   MS. WEAVER:     I'm trying to understand this        10:04

                                                                     Page 55

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 17 of 97
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1    document, which we gave to you ahead of time, and                   10:04

2    whether or not it's complete.        So please allow him            10:04

3    to answer.                                                          10:04

4                 MS. STEIN:   Ask him if he knows whether               10:04

5    it's complete.      Don't ask him about things that have            10:04

6    nothing to do with what he's here to testify about                  10:04

7    here today.     He's not authorized on behalf of                    10:04

8    Facebook to talk about             , email, messaging               10:04

9    that gets used internally.                                          10:04

10   BY MS. WEAVER:                                                      10:04

11         Q.     So, K.P., can I ask you, is there any kind             10:04

12   of -- for             is there any -- well, just -- I'll            10:04

13   move on.     I'll come back to it.                                  10:04

14                So looking back at Exhibit 3, and turning              10:04

15   to the first page ending at Bates number 424 --                     10:04

16         A.     424, yes.                                              10:05

17         Q.                                                            10:05

18   Do you see that?                                                    10:05

19         A.     Yes.                                                   10:05

20         Q.     And you said earlier that you know who Rob             10:05

21   Sherman is; is that right?                                          10:05

22         A.     Yes, I do.                                             10:05

23         Q.     And who is he?                                         10:05

24         A.     He's the VP of privacy.                                10:05

25         Q.     And he's still at Facebook; is that right?             10:05

                                                                Page 56

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 18 of 97
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1          A.   Yes, he is.                                              10:05

2          Q.   Okay.   And do you have an understanding as              10:05

3    to what this page represents?                                       10:05

4          A.   I think that's a list of things that                     10:05

5    supposing Facebook receives about people.                           10:05

6          Q.   Okay.                                                    10:05

7                                                                        10:05

8                                            Is that correct?            10:05

9          A.   Uh-huh, that's what it says, yes.                        10:05

10         Q.   Fair enough.                                             10:05

11              So did you talk to Mr. Sherman to prepare                10:05

12   for your deposition today?                                          10:05

13         A.   No, I haven't spoken to him.                             10:05

14         Q.   Did you speak to anybody other than your                 10:06

15   counsel to prepare for your deposition today?                       10:06

16         A.   No, I haven't.                                           10:06

17         Q.   And how long did you take to prepare for                 10:06

18   your deposition?                                                    10:06

19         A.   I think I already answered that question.                10:06

20   I been preparing for this deposition for as long as                 10:06

21   I have been at Facebook.                                            10:06

22         Q.   Fair enough.                                             10:06

23         A.   It's a collective -- collective knowledge                10:06

24   of my last 8 and a half years of being employed at                  10:06

25   this company.                                                       10:06

                                                                Page 57

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 19 of 97
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1          Q.       Okay.   And specifically to prepare for              10:06

2    this deposition in response to this notice, how much                10:06

3    time did you spend preparing?                                       10:06

4          A.       I don't know.     Between, you know, calls           10:06

5    with my counsels and homework that I have done for                  10:06

6    myself, I would say 15-20 hours.                                    10:06

7          Q.       Okay.   Thank you.                                   10:06

8                   And looking back now at the page that we             10:06

9    were looking at ending in Bates number 424, do you                  10:06

10   see that it describes three categories of data on                   10:06

11   the left?                                                           10:06

12         A.       Yes.                                                 10:06

13         Q.                                                            10:07

14                                  Do you see that?                     10:07

15         A.       Yes.                                                 10:07

16         Q.       Do you have an understanding as to what              10:07

17                    is?                                                10:07

18         A.                                                            10:07

19                                                                       10:07

20              .                                                        10:07

21         Q.                                                            10:07

22                                                                       10:07

23         A.                                                            10:07

24         Q.       Okay.   And then what is                             10:07

25                  MS. STEIN:   Object to form.                         10:07

                                                                 Page 58

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 20 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1               THE WITNESS:     Data that is -- what?                     10:07

2               MS. STEIN:     Objection to form.                          10:07

3    BY MS. WEAVER:                                                        10:07

4          Q.   I'll repeat the question.         What is                  10:07

5                                                                          10:07

6               MS. STEIN:     Same objection.                             10:07

7               THE WITNESS:     It's -- sorry.        I have to           10:07

8    look at the document while you're talking.             I don't        10:07

9    mean to talk over you.                                                10:07

10              It's okay I answer the question now?                       10:07

11   BY MS. WEAVER:                                                        10:07

12         Q.   Yes.                                                       10:07

13         A.                                                              10:07

14                                                                         10:07

15         Q.                                                              10:07

16                                                                         10:07

17         A.                                                              10:08

18         Q.                                                              10:08

19                                                                         10:08

20         A.                                                              10:08

21         Q.   Okay.   And what is                         ?              10:08

22              MS. STEIN:     Objection to form.                          10:08

23              THE WITNESS:     Sorry, I need to switch back              10:08

24   to see -- you don't want to talk.         Okay.                       10:08

25                                                                         10:08

                                                                      Page 59

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 21 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                            10:08

2    BY MS. WEAVER:                                                          10:08

3            Q.      Okay.   And as you sit here today, are                  10:08

4    there any other kinds of information Facebook                           10:08

5    receives about people other than these three                            10:08

6    categories?                                                             10:08

7            A.      I don't think so.                                       10:08

8            Q.      Okay.   Let's return to our discussion of               10:08

9                     .   Do you have an understanding as to why             10:08

10   the word                 is being used?       What does that            10:08

11   mean?        Is it the same as raw data?                                10:09

12                   MS. STEIN:     Objection to form.                       10:09

13                   THE WITNESS:     Every piece of data has a              10:09

14   degree of rawness associated with it.                Depends how        10:09

15   you define raw.                                                         10:09

16   BY MS. WEAVER:                                                          10:09

17           Q.      Okay.   I just didn't quite hear.         Every         10:09

18   piece of data has a particular --                                       10:09

19           A.      (Indecipherable).      I'm joking.                      10:09

20                   They -- if you are talking about raw data,              10:09

21   what do you mean?                                                       10:09

22           Q.      Okay.   Well, I'm trying to learn from you,             10:09

23   so let me ask you.                                                      10:09

24           A.      The IP address -- the IP address is raw                 10:09

25   data.                                                                   10:09

                                                                        Page 60

                                    Veritext Legal Solutions
                                         866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 22 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          Q.   Uh-huh, okay.    Good.                                   10:09

2          A.   But it comes through activity that happens               10:09

3    on a native Facebook app.     The               means, in my        10:09

4    mind, the way I see the definition there, as                        10:09

5                                                                        10:09

6          Q.                                                            10:09

7                                                                        10:09

8                                                                        10:09

9          A.                                                            10:09

10         Q.   Okay.   And so when we -- when this                      10:09

11   document says                                                       10:09

12                                                                       10:10

13                                                                       10:10

14         A.                                                            10:10

15         Q.                                                            10:10

16         A.                                                            10:10

17                                                                       10:10

18                                                                       10:10

19                                                                       10:10

20                                                                       10:10

21                                                                       10:10

22         Q.                                                            10:10

23                                                                       10:10

24                                                                       10:10

25         A.                                                            10:10

                                                                    Page 61

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 23 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                        10:10

2            Q.   Great.     Thank you.                                  10:10

3                 And then on the right it seems -- this                 10:10

4    chart seems to further break down categories of                     10:10

5                        Do you see that?                                10:10

6            A.   Yes.                                                   10:10

7            Q.   Okay.     And there's a column or really a             10:10

8    box that says                                  Do you see           10:10

9    that?                                                               10:11

10           A.   Yes.                                                   10:11

11           Q.                                                          10:11

12                                                                       10:11

13                                                                       10:11

14                                                                       10:11

15                                          Do you see all of            10:11

16   those boxes?                                                        10:11

17           A.   Yes.                                                   10:11

18           Q.   Okay.     Do you have an understanding as to           10:11

19   what                            means?                              10:11

20           A.                                                          10:11

21                                                                       10:11

22                                                                       10:11

23           Q.   Okay.     And so that means that a user has            10:11

24   taken an action to share the data; is that fair?                    10:11

25           A.   Correct.                                               10:11

                                                                 Page 62

                                 Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 24 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          Q.    Okay.   And so what does                                10:11

2               mean?                                                    10:11

3                MS. STEIN:     Object to form.                          10:11

4                THE WITNESS:                                            10:11

5                                                                        10:11

6    BY MS. WEAVER:                                                      10:11

7          Q.    I'm sorry, did you --                                   10:11

8          A.                                                            10:12

9                                                                        10:12

10                                                                       10:12

11                                                                       10:12

12                                                                       10:12

13                                                                       10:12

14                                                                       10:12

15                                                                       10:12

16         Q.                                                            10:12

17                                                                       10:12

18                                                                       10:12

19         A.                                                            10:12

20                                                                       10:12

21         Q.                                                            10:12

22                                                                       10:12

23                                                                       10:12

24                                                                       10:12

25                                                                       10:12

                                                                Page 63

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 25 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                        10:12

2                                                                        10:12

3               MS. STEIN:     Objection to form.                        10:12

4               THE WITNESS:                                             10:13

5                                                                        10:13

6                                                                        10:13

7                                                                        10:13

8    BY MS. WEAVER:                                                      10:13

9          Q.   Okay.                                                    10:13

10         A.                                                            10:13

11                                                                       10:13

12         Q.                                                            10:13

13                                                                       10:13

14         A.                                                            10:13

15         Q.                                                            10:13

16                                                                       10:13

17         A.                                                            10:13

18         Q.                                                            10:13

19         A.                                                            10:13

20                                                                       10:13

21         Q.                                                            10:13

22         A.                                                            10:13

23         Q.                                                            10:13

24         A.                                                            10:13

25         Q.                                                            10:13

                                                                Page 64

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 26 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1            A.                                                          10:13

2                                                                        10:13

3            Q.                                                          10:13

4                                                                        10:13

5            A.                                                          10:14

6            Q.   Okay.                                                  10:14

7                                                                        10:14

8                                                                        10:14

9            A.                                                          10:14

10                MS. STEIN:   Object.    Objection to form.             10:14

11   BY MS. WEAVER:                                                      10:14

12           Q.   Okay.   And then there's this box that says            10:14

13                                                  Do you see           10:14

14   that?                                                               10:14

15           A.   Yes, I do.                                             10:14

16           Q.   What does that refer to?                               10:14

17           A.                                                          10:14

18                                                                       10:14

19           Q.                                                          10:14

20           A.                                                          10:14

21                                                                       10:14

22           Q.                                                          10:14

23                                                                       10:14

24                                                                       10:14

25           A.                                                          10:14

                                                                 Page 65

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 27 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                        10:15

2                                                                        10:15

3                                                                        10:15

4                                                                        10:15

5                                                                        10:15

6          Q.   How did you know?                                        10:15

7               So how does Facebook retain that                         10:15

8    information once it draws that inference?                           10:15

9          A.   You know, there would be --                              10:15

10              MS. STEIN:     Objection.                                10:15

11              THE WITNESS:                                             10:15

12                                                                       10:15

13                                                                       10:15

14                                                                       10:15

15   BY MS. WEAVER:                                                      10:15

16         Q.   And how does Facebook record those                       10:15

17   interests, if you will?                                             10:15

18              MS. STEIN:     Objection to form.                        10:15

19              THE WITNESS:                                             10:15

20                                                                       10:15

21                                                                       10:16

22                                                                       10:16

23                                                                       10:16

24   BY MS. WEAVER:                                                      10:16

25         Q.   Okay.   And so how does that signal come                 10:16

                                                                Page 66

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 28 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    through in terms of data to Facebook and where does                  10:16

2    it keep it?                                                          10:16

3          A.                                                             10:16

4                                                                         10:16

5                                                                         10:16

6          Q.   Right.                                                    10:16

7          A.   I'm talking about you liking Beyonce's                    10:16

8    page on Facebook.                                                    10:16

9          Q.   Okay.    I'm just trying to understand --                 10:16

10   well, let me go back.      For the                                   10:16

11          right, where does Facebook maintain that data?                10:16

12              MS. STEIN:     Objection.     Form.                       10:16

13              THE WITNESS:     What do you mean?                        10:16

14   BY MS. WEAVER:                                                       10:16

15         Q.   Well, I'm trying to understand.           Facebook        10:16

16   receives                                    is that right?           10:16

17         A.   Yes.                                                      10:16

18         Q.   And where does it receive it and where                    10:16

19   does it go?   Where does the data go?                                10:16

20         A.   It's a -- it's a very complicated                         10:16

21   question, so let me try to answer it may be with,                    10:16

22   you know, like a high-level perspective.                             10:17

23              So when you come to Facebook for the first                10:17

24   time in your life you will create an account, right?                 10:17

25   To create an account you need to provide the                         10:17

                                                                     Page 67

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 29 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    username and a password.     And then it will ask you a             10:17

2    couple of questions.     What is your first name?     What          10:17

3    is your last name?     What is your date of birth, and              10:17

4    so on and so on.                                                    10:17

5               All that information lives in some, you                  10:17

6    know, database somewhere, right?        The next time you           10:17

7    come to Facebook you decide to post a photo of                      10:17

8    yourself, you know, celebrating your birthday.        That          10:17

9    information lives somewhere in a distributed                        10:17

10   database, right?                                                    10:17

11              Then some people will start liking your                  10:17

12   page, saying -- will most likely be your friends.                   10:17

13   That information is captured somewhere about who has                10:17

14   liked your photo.                                                   10:17

15              Then the next day you come in and you --                 10:17

16   you like Beyonce's page because you just saw her two                10:17

17   months and you want to keep up with her work.        That           10:18

18   information is captured somewhere.                                  10:18

19              But all that information is available                    10:18

20   to -- to you, right?     You can go into your Facebook              10:18

21   settings and you can find all that information.                     10:18

22         Q.   Okay.    When you say it is captured                     10:18

23   somewhere, where is the somewhere?                                  10:18

24         A.                                                            10:18

25                                                                       10:18

                                                                  Page 68

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 30 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          Q.    Use your example.    I go on Facebook's                 10:18

2    website and I take an action.       Where is that                   10:18

3    captured?    You said it's captured somewhere.      Where           10:18

4    is the somewhere?                                                   10:18

5          A.                                                            10:18

6                                                                        10:18

7          Q.    Okay.                                                   10:18

8          A.    That's a database.                                      10:18

9          Q.    And what if it's a like?                                10:18

10         A.    Again, it's an activity.                                10:18

11         Q.    Okay.   What if it's something that                     10:18

12   Facebook infers?     Where is it captured?                          10:18

13         A.    The inference?                                          10:18

14         Q.    Yes.                                                    10:19

15         A.                                                            10:19

16         Q.                                                            10:19

17                                                                       10:19

18                                                                       10:19

19         A.                                                            10:19

20         Q.                                                            10:19

21         A.                                                            10:19

22         Q.                                                            10:19

23                                                                       10:19

24         A.    Again, I guess I'm going to level a little              10:19

25   bit the conversation.                                               10:19

                                                                 Page 69

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 31 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1               If you ever liked Beyonce's page, that                   10:19

2    would recapture it on your, you know, like personal                 10:19

3    profile.   And if any advertiser, let's say,                        10:19

4    Beyonce's label wants to advertise against an                       10:19

5    audience of people that like Beyonce, they would                    10:19

6    basically identify that in their ad campaign                        10:19

7    settings and then we would find whoever may like                    10:19

8    Beyonce's page and we will deliver on that about                    10:19

9    Beyonce to them.      Very, very high level.                        10:19

10         Q.   I understand the functioning that you're                 10:19

11   describing.     I don't understand where the data goes              10:19

12   and how Facebook draws the inference.                               10:19

13         A.   I'm really sorry, but I'm having a hard                  10:20

14   time hearing.      Is it me or is it your mic?                      10:20

15              MS. WEAVER:     I'm not having a hard time               10:20

16   hearing.                                                            10:20

17              MS. STEIN:     It's the mic.                             10:20

18              MS. WEAVER:     Oh, okay.     Can you hear me            10:20

19   now or is it --                                                     10:20

20         Q.   Okay.     So I'll repeat the question.                   10:20

21   Where -- well -- how does Facebook infer data from                  10:20

22   engagement on the site?                                             10:20

23         A.                                                            10:20

24                                                                       10:20

25         Q.   And --                                                   10:20

                                                                Page 70

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 32 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1           A.                                                           10:20

2                THE REPORTER:     I'm sorry, "I mean in most            10:20

3    cases"...                                                           10:20

4    BY MS. WEAVER:                                                      10:20

5           Q.   And --                                                  10:20

6                THE REPORTER:     I'm sorry, "I mean in most            10:20

7    cases"...                                                           10:20

8                THE WITNESS:                                            10:20

9                THE REPORTER:     Thank you.                            10:20

10   BY MS. WEAVER:                                                      10:20

11          Q.   Let me move on.     I'm going to return to              10:20

12   that because I think we need to drill down a little                 10:20

13   bit.    But I'll just go to                           Do you        10:21

14   see that category?                                                  10:21

15          A.   Yes.                                                    10:21

16          Q.   And so                    is                            10:21

17                                                                       10:21

18          A.   Yes.                                                    10:21

19          Q.   Okay.                                                   10:21

20                                                                       10:21

21          A.                                                           10:21

22          Q.                                                           10:21

23          A.   It's -- sorry.                                          10:21

24               MS. STEIN:     Are you asking him to read               10:21

25   from the document or are you asking him his                         10:21

                                                                    Page 71

                                Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 33 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    understanding?                                                      10:21

2                                                                        10:21

3                                                                        10:21

4                                                                        10:21

5                                                                        10:21

6                                                                        10:21

7                                                             ,          10:21

8                                                                        10:21

9                                                                        10:21

10   BY MS. WEAVER:                                                      10:21

11           Q.   Do you know what a data broker is?                     10:21

12           A.   My definition of data broker?                          10:21

13           Q.   Yes.                                                   10:22

14           A.   Anybody that has access to a broad set of              10:22

15   data.                                                               10:22

16           Q.   Okay.    Is Facebook a data broker?                    10:22

17           A.   No.                                                    10:22

18           Q.   Okay.    Did you talk to anybody -- well,              10:22

19   strike that.                                                        10:22

20                Do you see where it says                               10:22

21                  on this document?                                    10:22

22           A.   Yes.                                                   10:22

23           Q.   What does that refer to?                               10:22

24           A.   I guess a list of different categories I               10:22

25   listed myself.       It's also documented here.                     10:22

                                                                  Page 72

                                Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 34 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          Q.   And so do you see to the right there it                  10:22

2                                                                        10:22

3                                                                        10:22

4                                                                        10:22

5          A.   Yes.                                                     10:22

6          Q.   And is it your understanding that those                  10:22

7    are examples of the kind -- kinds of data that                      10:22

8    Facebook collects from                                              10:22

9          A.   Yes.     I don't know if it's exhaustive or              10:23

10   not, but I would imagine that it is exhaustive.                     10:23

11         Q.   Thank you.     And then underneath that do               10:23

12   you see where it says "Advertisers"?                                10:23

13         A.   Yes.                                                     10:23

14         Q.   What is an advertiser?                                   10:23

15         A.   Someone that is running marketing                        10:23

16   companies on Facebook.                                              10:23

17         Q.   Okay.     And then there's a parenthetical               10:23

18   that refers to "Custom audiences,                                   10:23

19                      Do you see that?                                 10:23

20         A.   Yes.                                                     10:23

21         Q.   What is custom audiences?                                10:23

22         A.   A custom audience is a reference to a                    10:23

23   products whereby a business can upload and encrypt                  10:23

24   its -- a version of their database of customers for                 10:23

25   the purpose of running a campaign that targets those                10:23

                                                                Page 73

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 35 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    customers.                                                          10:23

2           Q.    Okay.    I want to break that down a little            10:23

3    bit.                                                                10:23

4                 MS. WEAVER:     I'm not seeing that on my              10:23

5    live feed.                                                          10:23

6                 Could you read his response back, please.              10:24

7                              (The record was read by the               10:24

8                              court reporter, as requested)             10:24

9    BY MS. WEAVER:                                                      10:24

10          Q.    Okay.    And when you say "encrypt," what do           10:24

11   you mean?                                                           10:24

12          A.    They wouldn't upload the raw data.        They         10:24

13   would upload a version of that data.                                10:24

14                THE REPORTER:     I'm sorry, could you repeat          10:24

15   that last part, please?                                             10:24

16                THE WITNESS:     They wouldn't upload raw              10:24

17   customer data.       They would upload encrypted personal           10:24

18   or hashed personal data.                                            10:24

19   BY MS. WEAVER:                                                      10:24

20          Q.    Thank you.     And when you say "raw customer          10:24

21   data," what do you mean?                                            10:24

22          A.    Email addresses.                                       10:24

23          Q.    Anything else?                                         10:24

24          A.    No.                                                    10:24

25          Q.                                                           10:24

                                                                   Page 74

                                 Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 36 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                        10:24

2          A.                                                            10:24

3                                                                        10:25

4                                                                        10:25

5                                                                        10:25

6                                                                        10:25

7                                                                        10:25

8                                                                        10:25

9                                                                        10:25

10                                                                       10:25

11                                                                       10:25

12                                                                       10:25

13                                                                       10:25

14                                                                       10:25

15                                                                       10:25

16         Q.                                                            10:25

17                                                                       10:25

18         A.                                                            10:25

19                                                                       10:25

20                                                                       10:26

21                                                                       10:26

22         Q.                                                            10:26

23                                                                       10:26

24         A.                                                            10:26

25         Q.   And that could also include engaging in --               10:26

                                                                Page 75

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 37 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    well, strike that.                                                       10:26

2                                                                             10:26

3                                                                             10:26

4           A.                                                                10:26

5                                                                             10:26

6           Q.   Got it.     Does advertisers here also                       10:26

7    include political campaigns?                                             10:26

8           A.   I'm looking at the -- sorry.          Sorry.   I             10:26

9    need to answer that, I guess.         What do you mean?        In        10:26

10   what context?                                                            10:26

11          Q.   Do political campaigns advertise?                            10:26

12          A.   Yes, they do.                                                10:26

13          Q.   Okay.     And when they are seeking                          10:26

14   conversion, are they seeking to encourage certain                        10:26

15   actions by Facebook users?                                               10:26

16               MS. STEIN:     Objection to form.                            10:27

17               THE WITNESS:     Yeah, but that wouldn't                     10:27

18   include, you know, like what people voted.            It would           10:27

19   probably include if they read, or if they donated,                       10:27

20   or if they took an action on their website,                              10:27

21   depending on what the campaign is actually optimized                     10:27

22   for.                                                                     10:27

23   BY MS. WEAVER:                                                           10:27

24          Q.   Got it.                                                      10:27

25          A.   But, no, the conversion wouldn't be that I                   10:27

                                                                         Page 76

                                Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 38 of 97
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1    voted for Biden or I voted for Trump.             That's not --        10:27

2                 THE REPORTER:    I'm sorry, could you please              10:27

3    slow down.     The last part?                                          10:27

4                 THE WITNESS:    Oh, sorry.                                10:27

5                 THE REPORTER:    "The conversion"...                      10:27

6                 THE WITNESS:    The conversion that                       10:27

7    political campaigns are tracking have to do with                       10:27

8    fundraising, donations, registration, this kind of                     10:27

9    things.                                                                10:27

10   BY MS. WEAVER:                                                         10:27

11         Q.                                                               10:27

12                                                                          10:27

13                                                                          10:27

14                                                                          10:27

15                                                                          10:27

16                                                                          10:27

17   BY MS. WEAVER:                                                         10:27

18         Q.     And then do you see on the right of                       10:27

19   Advertisers it says "Existing customer                                 10:27

20   relationships"?     Do you see that?        It's to the right          10:27

21   of Advertisers.                                                        10:28

22         A.     Yes.                                                      10:28

23         Q.     What does "Existing customer                              10:28

24   relationships," that subcategories of advertisers,                     10:28

25   refer to?                                                              10:28

                                                                       Page 77

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 39 of 97
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1          A.   And so going back to our example earlier,                10:28

2    if -- if you are Walmart again, and you know that --                10:28

3    let's say there are thousands of people that                        10:28

4    attempted to purchase a TV from Walmart's website                   10:28

5    and you have an understanding of the email addresses                10:28

6    of those people.    Then you can encrypt those email                10:28

7    addresses, make them available to Facebook to create                10:28

8    what we call a custom audience.                                     10:28

9               And then Facebook will, you know, like --                10:28

10   can target those specific users to the extent that                  10:28

11   they are also Facebook users, of course, with an ad                 10:28

12   that offers them, let's say, a discount for that                    10:28

13   specific TV.                                                        10:28

14         Q.   What do you mean by "encrypt"?                           10:28

15         A.                                                            10:29

16                                                                       10:29

17                                                                       10:29

18                                                                       10:29

19                                                                       10:29

20                                                                       10:29

21         Q.   So what is the difference between                        10:29

22   encryption and hashing?                                             10:29

23         A.   It's same thing in that sense.                           10:29

24         Q.   It is the same thing?                                    10:29

25         A.   Yeah.                                                    10:29

                                                                Page 78

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 40 of 97
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1          Q.     Is it true that hashing has two inputs --                 10:29

2    well, let me go back.        Is it fair to say that                    10:29

3    encryption has two inputs so that if you have a key,                   10:29

4    you can associate data point together; is that fair?                   10:29

5                 MS. STEIN:     Object to form.       He's not here        10:29

6    as a technical expert, so...                                           10:29

7                 You can give your high-level                              10:29

8    understanding, if you have one.                                        10:29

9                 THE WITNESS:     Yes, I don't -- I don't                  10:29

10   want -- I don't want to talk about, you know, like                     10:29

11   encryption.                                                            10:29

12                                                                          10:29

13                                                                          10:30

14                                                                          10:30

15                                                                          10:30

16   BY MS. WEAVER:                                                         10:30

17         Q.     Okay.   Well, just looking at this page,                  10:30

18   you see that there's the word "Hashed data matching"                   10:30

19   on it?     It's below -- it's in the native data box                   10:30

20   there.                                                                 10:30

21         A.     Yes.                                                      10:30

22         Q.     Do you see where it says "Hashed data                     10:30

23   matching"?                                                             10:30

24         A.     Yes.                                                      10:30

25         Q.     What is hashed data matching?                             10:30

                                                                       Page 79

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 41 of 97
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1          A.   This is the data that we were talking                    10:30

2    about used for custom audience.                                     10:30

3          Q.   So could you, please, explain what hashed                10:30

4    data matching is?                                                   10:30

5          A.                                                            10:30

6                                                                        10:30

7                                                                        10:30

8                                                                        10:30

9                                                                        10:30

10                                                                       10:30

11         Q.                                                            10:30

12                                                                       10:30

13                                                                       10:31

14                                                                       10:31

15                                                                       10:31

16         A.                                                            10:31

17         Q.                                                            10:31

18                                                                       10:31

19         A.                                                            10:31

20         Q.                                                            10:31

21                                                                       10:31

22                                                                       10:31

23         A.                                                            10:31

24                                                                       10:31

25                                                                       10:31

                                                                Page 80

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 42 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                        10:31

2          Q.   And then going now back to the appended                  10:31

3    data chart.   Do you see where it says "Purchase                    10:31

4    history," near "Advertisers"?                                       10:31

5          A.   Yes.                                                     10:31

6          Q.   What does that refer to?                                 10:31

7          A.                                                            10:31

8                                                                        10:32

9          Q.                                                            10:32

10         A.                                                            10:32

11                                                                       10:32

12                                                                       10:32

13                                                                       10:32

14                                                                       10:32

15                                                                       10:32

16                                                                       10:32

17                                                                       10:32

18                                                                       10:32

19                                                                       10:32

20         Q.   Okay.   So Facebook is getting data about,               10:32

21   for example, that I had something in my cart that I                 10:32

22   didn't purchase; is that right?                                     10:32

23              MS. STEIN:     Object to form.                           10:32

24              THE WITNESS:     No, not that, no.                       10:32

25

                                                                Page 81

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 43 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    BY MS. WEAVER:                                                      10:32

2          Q.   Okay.    Who has it?     You just gave that as           10:32

3    an example.                                                         10:32

4          A.   Yeah, but that is a logic that takes place               10:32

5    on the advertiser's side.                                           10:32

6          Q.   Okay.                                                    10:32

7          A.   The advertiser selects the marketing team                10:32

8    on the advertiser side to decide what kind of                       10:32

9    campaign they want to run.        And they create a                 10:33

10   segment of their customers that they want to target                 10:33

11   with their ad campaign, and then they will decide                   10:33

12   what creative they want to use, like how the ad is                  10:33

13   going to look like.                                                 10:33

14         Q.   Right.    But this is a list of information              10:33

15   that Facebook receives, right?                                      10:33

16              MS. STEIN:     Objection to form.                        10:33

17              THE WITNESS:     The information we receive              10:33

18   is not the activities.      It's hashed email addresses             10:33

19   or hashed phone numbers from the advertisers.                       10:33

20   BY MS. WEAVER:                                                      10:33

21         Q.   Okay.    Looking at this chart here, it's                10:33

22   labeled, "What kinds of information does Facebook                   10:33

23   receive?" correct?                                                  10:33

24              MS. STEIN:     Objection to form.                        10:33

25              (Background audio interference.)                         10:33

                                                                 Page 82

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 44 of 97
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1                 MS. WEAVER:     Somebody needs to put their            10:33

2    phones on mute or their computers on mute.                          10:34

3          Q.     Returning to the document, sir, isn't this             10:34

4    page a list of information that Facebook receives                   10:34

5    about people?                                                       10:34

6                 MS. STEIN:     Objection to form.                      10:34

7                 THE WITNESS:     We received information that          10:34

8    an associate hashed email address with a Walmart                    10:34

9    customer.                                                           10:34

10                MS. WEAVER:     Okay.   Tat's -- I'll just             10:34

11   move to strike as nonresponsive.           We will move on.         10:34

12         Q.     Going back to this category that says                  10:34

13   "Both."     Do you see that, near                      ?            10:34

14         A.     Yes.                                                   10:34

15         Q.     What does "both" mean?                                 10:34

16                MS. STEIN:     Objection to form.                      10:34

17                                                                       10:34

18                                                                       10:34

19                                                                       10:34

20                                                                       10:34

21                                                                       10:34

22                                                                       10:34

23   BY MS. WEAVER:                                                      10:34

24         Q.     Okay.   And so does this document reflect              10:34

25   that Facebook receives from                                         10:34

                                                                   Page 83

                                 Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 45 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                             10:34

2               MS. STEIN:     Objection to form.          The                10:35

3    document speaks for itself.                                              10:35

4               MS. WEAVER:     I'm here to depose him about                  10:35

5    the document, Deb.      It was identified ahead of time.                 10:35

6               Please answer the question.                                   10:35

7               MS. STEIN:     Yeah, Lesley, this document is                 10:35

8    all about targeted advertising, and you've been                          10:35

9    going on for about an hour about targeted                                10:35

10   advertising which isn't even in this case.              It's             10:35

11   outside the scope of this case.                                          10:35

12              MS. WEAVER:     You can instruct him not to                   10:35

13   answer if you want, but I'm actually --                                  10:35

14              MS. STEIN:     Lesley, I've let this witness                  10:35

15   testify for an hour about targeted advertising.                So        10:35

16   if you want to ask him about the scope of this                           10:35

17   deposition, you're free to, but suggesting that just                     10:35

18   because you sent us a document about targeted                            10:35

19   advertising --                                                           10:35

20              MS. WEAVER:     Deb, stop lecturing and                       10:35

21   wasting my minutes with the witness, please.                             10:35

22              MS. STEIN:     Lesley, I am stating my                        10:35

23   position for the record.      This is a 30(b)(6)                         10:35

24   deposition on a specific set of topics.              You've gone         10:35

25   beyond the scope.    I've been very liberal in that.                     10:35

                                                                         Page 84

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 46 of 97
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1                 I will let the witness continue answering              10:35

2    some more questions, but if it continues focusing on                10:35

3    targeted advertising, then we're going to have to                   10:36

4    move on.                                                            10:36

5    BY MS. WEAVER:                                                      10:36

6            Q.   So the question -- I'm sorry, K.P. -- the              10:36

7    question is this:                                                   10:36

8                                                                        10:36

9                                                                        10:36

10                                                                       10:36

11                MS. STEIN:     Objection to form.                      10:36

12                THE WITNESS:     I don't know the definition           10:36

13   of an                                                               10:36

14   BY MS. WEAVER:                                                      10:36

15           Q.   Okay.                                                  10:36

16           A.                                                          10:36

17                                                                       10:36

18                                                                       10:36

19                                                                       10:36

20           Q.   Thank you.                                             10:36

21                And does Facebook also receive                         10:36

22                                                                       10:36

23           A.   In what context?                                       10:36

24                                                                       10:36

25                                                                       10:36

                                                                 Page 85

                                 Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 47 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1            A.                                                          10:36

2            Q.                                                          10:36

3            A.                                                          10:36

4                                                                        10:36

5            Q.                                                          10:36

6                                                                        10:36

7                                                                        10:36

8            A.                                                          10:36

9            Q.   Okay.   And do you see where it says "Web              10:36

10   pixels" here?                                                       10:36

11           A.   Yes.                                                   10:37

12           Q.   What does that refer to?                               10:37

13           A.   It refers to the different implementation              10:37

14   of the Facebook pixel that is used in conjunction --                10:37

15   in conjunction with ad campaigns most of the time.                  10:37

16           Q.   Okay.   And what is a conversion pixel?                10:37

17           A.   It's a pixel that is strategically                     10:37

18   placed -- "strategically" meaning it's down to the                  10:37

19   advertiser -- on the page, on their website that                    10:37

20   tracks the effectiveness of their ad campaign                       10:37

21   depending on their -- their objective of the                        10:37

22   company.                                                            10:37

23           Q.   Okay.   And then "Web SDK," do you see                 10:37

24   that?                                                               10:37

25           A.   Yes.                                                   10:37

                                                                Page 86

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 48 of 97
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1          Q.   What does that refer to?                                 10:37

2          A.   So this is the version of the SDK that is                10:37

3    used by websites.                                                   10:37

4          Q.   Okay.    And did that change over time?                  10:37

5          A.   Yes, we update the SDKs quite regularly.                 10:38

6          Q.   Okay.    And "Mobile SDK," what is that?                 10:38

7          A.   This is the SDK that is used by native                   10:38

8    apps, meaning iOS and Android.                                      10:38

9          Q.   Okay.    I just want to go back to                       10:38

10                                                                       10:38

11                                                                       10:38

12         A.   I think we discussed about that before.                  10:38

13   So I'll try to repeat my previous response.                         10:38

14                                                                       10:38

15                                                                       10:38

16                                                                       10:38

17         Q.   Okay.    I see that I guess the videographer             10:38

18   would like to take a quick break.         So do you want to         10:38

19   just -- is that comfortable for you, K.P., to take a                10:38

20   break for a little bit here?                                        10:38

21         A.   Yes, I need a coffee.                                    10:38

22              MS. WEAVER:    Okay.    So why don't we come             10:38

23   back at, do you want to say, 10:50?                                 10:38

24              THE WITNESS:    10 minutes from now?                     10:38

25              MS. WEAVER:    Yeah, does that work?      Well,          10:39

                                                                   Page 87

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 49 of 97
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1     1      11 minutes?   Okay.    Great.                                      10:39

      2                THE VIDEOGRAPHER:       We are off the record            10:39

2                              10:39     3    at         a.m.

     10:39

3     4                (Recess.)                                                10:39

                               10:39     5                   (Off record:      a.m.)

4    10:39

5     6                (On record:      10:53 a.m.)                             10:39

6     7                THE VIDEOGRAPHER:       We are on the record at          10:53

7                              10:53     8            a.m.

8    10:53

9     9      BY MS. WEAVER:                                                     10:53

10   10           Q.   Hello, K.P.      You understand you are still            10:53

11   11      under oath, correct?                                               10:53

12   12           A.   Yes, I do.                                               10:53

13   13           Q.   Okay.    Returning to where we left off, we              10:53

14   14      were discussing                       before the break.            10:53

15   15      Do you recall that?                                                10:53

16   16           A.   Yes, I do.                                               10:53

17   17           Q.                                                              :53

18   18                                                                         10:53

19   19                                                                         10:53

20   20                                                                         10:53

21   21           A.                                                            10:53

22   22                MS. STEIN:      Object to form.                          10:53

23   23      BY MS. WEAVER:                                                     10:53

24   24           Q.   And so to the right here do you see it                   10:53

25   25                                                                         10:53

                                                                            Page 88

                                    Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 50 of 97
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1                                                                        10:53

2                                                                        10:54

3          A.    Yes, I do.                                              10:54

4          Q.    Okay.   So does this reflect that Facebook              10:54

5    receives                                                            10:54

6                                                                        10:54

7                MS. STEIN:     Objection to form.                       10:54

8                THE WITNESS:                                            10:54

9                                                                        10:54

10                                                                       10:54

11                                                                       10:54

12                                                                       10:54

13                                                                       10:54

14   BY MS. WEAVER:                                                      10:54

15         Q.    Okay.   And do you see here where it says               10:54

16                                                                       10:54

17         A.    Yes.                                                    10:54

18         Q.    Do you see that?      What does that refer to?          10:54

19               MS. STEIN:     Objection.     Asked and                 10:54

20   answered.                                                           10:54

21               You can answer.                                         10:54

22               THE WITNESS:     This is in relation to the             10:54

23   web SDK and refers to activities captured in -- this                10:54

24   is for the purpose of those examples via the                        10:55

25   Facebook log-in button and a like button.                           10:55

                                                                  Page 89

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 51 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    BY MS. WEAVER:                                                        10:55

2           Q.   Okay.   And do you see at the bottom of the               10:55

3    page here it refers to "Onavo"?                                       10:55

4           A.   Yes.                                                      10:55

5           Q.   And what is Onavo?                                        10:55

6           A.   Onavo is a -- an app we acquired some                     10:55

7    five, six years ago, if I'm not mistaken, that's                      10:55

8    offers the users the ability to compress the data                     10:55

9    from all apps that they used on their phones to save                  10:55

10   on data charges.                                                      10:55

11          Q.   So it was called Onavo Protect; is that                   10:55

12   correct?                                                              10:55

13          A.   I don't remember the exact name of the                    10:55

14   app.                                                                  10:55

15          Q.   Do you recall that it was a VPN, a virtual                10:55

16   private network?                                                      10:55

17               MS. STEIN:     Objection to form.                         10:55

18               THE WITNESS:     Yes.                                     10:55

19   BY MS. WEAVER:                                                        10:55

20          Q.                                         e all of the        10:55

21                                                                         10:55

22                                                                         10:55

23                                                                         10:55

24                                                                         10:55

25          Q.                                                             10:56

                                                                      Page 90

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 52 of 97
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1          A.                                                                10:56

2                                                                            10:56

3          Q.                                                                10:56

4                                                                            10:56

5                 MS. STEIN:    Objection to form.         Beyond the        10:56

6    scope.                                                                  10:56

7                 MS. WEAVER:    It relates directly to the                  10:56

8    data that Facebook was collecting through Onavo.                        10:56

9          Q.     Isn't it true that Facebook suspended                      10:56

10   Onavo?                                                                  10:56

11                MS. STEIN:    Objection to form.         Beyond the        10:56

12   scope.     This witness is not testifying about --                      10:56

13                MS. WEAVER:    Are you instructing him not                 10:56

14   to answer my question about Onavo?                                      10:56

15                MS. STEIN:    That it's not subject to this                10:56

16   testimony.     He's not here -- he knows it -- he's not                 10:56

17   designated --                                                           10:56

18                MS. WEAVER:    State an objection to form or               10:56

19   instruct him not to answer.        Please don't fill my                 10:56

20   record with your speeches.                                              10:56

21                MS. STEIN:    Okay.   It's not a speech.        I'm        10:56

22   explaining that this witness came prepared to                           10:56

23   testify about certain things.         He's not a company                10:56

24   witness on suspensions, so he's not answering the                       10:56

25   question.                                                               10:56

                                                                        Page 91

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 53 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    BY MS. WEAVER:                                                      10:56

2          Q.   Do you see to the right of the word                      10:56

3    "Onavo" here, K.P., where it                                        10:56

4                                         Do you see that?               10:57

5          A.   Yes, I see that.                                         10:57

6          Q.   What does that refer to?                                 10:57

7          A.   Again, only guess.                                       10:57

8          Q.   What -- what do you believe it means?                    10:57

9               MS. STEIN:     The witness should not guess.             10:57

10   If he knows, he can answer.       If he does not know, he           10:57

11   should not answer.                                                  10:57

12              THE WITNESS:     I don't know.                           10:57

13   BY MS. WEAVER:                                                      10:57

14         Q.   Okay.    Does that refer to the fact that                10:57

15   Facebook received                                                   10:57

16                                                                       10:57

17              MS. STEIN:     Objection.     The witness just           10:57

18   said he doesn't know.                                               10:57

19   BY MS. WEAVER:                                                      10:57

20         Q.   You can answer the question.                             10:57

21         A.   I don't know.                                            10:57

22         Q.   Okay.    Did you have any personal                       10:57

23   involvement with Onavo?                                             10:57

24         A.   No, I didn't.                                            10:57

25         Q.   Okay.    Do you know who did?                            10:57

                                                                 Page 92

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 54 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          A.    It's a very broad question.          So in what             10:57

2    capacity?                                                               10:57

3          Q.    Who oversaw the Onavo project from within                   10:57

4    Facebook?    It was a partnership, correct?                             10:57

5          A.    No, it's not a partnership.          It's an                10:57

6    acquisition.                                                            10:57

7          Q.    Okay.     So who oversaw that acquisition?                  10:57

8          A.    On the Facebook side or --                                  10:57

9          Q.    Yes.                                                        10:58

10         A.    -- after the acquisition?                                   10:58

11         Q.    On the Facebook side.                                       10:58

12         A.    I don't know.                                               10:58

13         Q.    Okay.     What about after the acquisition?                 10:58

14         A.    The -- I guess the CEO of Onavo.                            10:58

15         Q.    Okay.     Move on.                                          10:58

16               Do you know what an                                         10:58

17         A.    I don't know.                                               10:58

18         Q.    So I'll turn to the next page on this                       10:58

19   document.    And that's the one beginning at 425.             Do        10:58

20   you see that?       It says "Hard Questions" at the top?                10:58

21         A.    Yes.                                                        10:58

22         Q.    Okay.     And then do you see where it says                 10:58

23                                                                 Do        10:58

24   you see that?                                                           10:58

25         A.    I see that.                                                 10:58

                                                                        Page 93

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 55 of 97
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1          Q.   And in quotes it says                                    10:58

2                                                                        10:58

3                                               Do you see that?         10:58

4          A.   I see that.                                              10:58

5          Q.   And do you see that it's in quotations?                  10:58

6          A.   Yes.                                                     10:59

7          Q.   And is that in quotations because that was               10:59

8    Facebook's policy at the time?                                      10:59

9               MS. STEIN:    Objection to form.         If the          10:59

10   witness knows what the people who wrote this --                     10:59

11              MS. WEAVER:    Please stop coaching him and              10:59

12   telling him to say that he doesn't know.                            10:59

13              MS. STEIN:    Lesley -- Lesley, do not                   10:59

14   accuse me of coaching.     You've gotten --                         10:59

15              MS. WEAVER:    That's strike one.                        10:59

16         Q.   Okay.   Go ahead, K.P.                                   10:59

17              MS. STEIN:    Excuse me?                                 10:59

18   BY MS. WEAVER:                                                      10:59

19         Q.   I'll ask the question again.         Do you know         10:59

20   at this point in time whether Facebook's policy was,                10:59

21                                                                       10:59

22                                                                       10:59

23         A.   I can only speak at a high level.           This         10:59

24   has always been not just the policy but the way we                  10:59

25   operated as a business.                                             10:59

                                                                   Page 94

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 56 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          Q.    Okay.     Thank you.                                    10:59

2                And then do you see it says                             10:59

3                        right below it?                                 10:59

4          A.    Yes, yes.                                               10:59

5          Q.    Okay.     And then there's a bullet point               10:59

6    that says                                                           11:00

7                                                                        11:00

8                                                                        11:00

9                             Do you see that?                           11:00

10         A.    Yes, I do.                                              11:00

11         Q.    Okay.     So is it a true statement that at             11:00

12   this time Facebook's policy prohibited sharing of                   11:00

13   data with data brokers or similar entities?                         11:00

14         A.    Yes.                                                    11:00

15         Q.    Okay.     And do you have an understanding as           11:00

16   to what the                                                         11:00

17                           what does that mean?                        11:00

18         A.    It means that Facebook as a business only               11:00

19   makes public commitments about things that are                      11:00

20   within our control.                                                 11:00

21         Q.    Okay.     And so I just want to direct your             11:00

22   attention to the bottom bullet point there in the                   11:00

23   second sentence.       Do you see where it says                     11:00

24                                                                       11:01

25                                                                       11:01

                                                                 Page 95

                                Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 57 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                     Do you see         11:01

2    that?                                                               11:01

3            A.   I see that.                                            11:01

4            Q.   Okay.                                                  11:01

5                                                                        11:01

6            A.                                                          11:01

7                                                                        11:01

8            Q.                                                          11:01

9                                                                        11:01

10           A.                                                          11:01

11           Q.                                                          11:01

12           A.                                                          11:01

13           Q.   Okay.   What is -- a little bit lower                  11:01

14   there, do you see                               referenced?         11:01

15           A.   Yes.                                                   11:01

16           Q.   What does that refer to?                               11:01

17           A.   I don't know.                                          11:01

18           Q.   Okay.   There's a question here                        11:02

19                                                                       11:02

20                                Do you see that?                       11:02

21           A.   Yes, I see that.                                       11:02

22           Q.   And there's something there that says                  11:02

23                        Do you see it?                                 11:02

24           A.   Yes.                                                   11:02

25           Q.   What is that?                                          11:02

                                                                   Page 96

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 58 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1           A.   Sorry, I'm searching back so I can see                  11:02

2    you.                                                                11:02

3                So there is a -- an option for every app                11:02

4    that you see on your feed to check who is the                       11:02

5    advertiser and why you may have been targeted.                      11:02

6           Q.   Okay.   And can you -- that was during the              11:02

7    time period in 2012 to 2017?                                        11:02

8           A.   My -- I don't know exactly when that                    11:02

9    option was added, but I believe it was always there.                11:02

10          Q.   Okay.   And                                             11:02

11                             Do you see that?                          11:02

12          A.   Yes.

13          Q.   And it says                                             11:03

14                                                         Do you        11:03

15   see that?                                                           11:03

16          A.   Yes.                                                    11:03

17          Q.   So is it true that -- well, let me back                 11:03

18   up.    What is the activity log?                                    11:03

19          A.   It's a list of every single action you                  11:03

20   have taken on Facebook.                                             11:03

21          Q.   Okay.   And what is "Download Your                      11:03

22   Information"?                                                       11:03

23          A.   It's a user-friendly way of downloading --              11:03

24   it's a file basically, but it's a user-friendly file                11:03

25   of everything that Facebook held -- all the                         11:03

                                                                    Page 97

                                Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 59 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    information that Facebook has for you.                              11:03

2          Q.   Okay.                                                    11:03

3                                                                        11:03

4                                                                        11:03

5          A.                                                            11:03

6          Q.                                                            11:03

7                                                                        11:03

8          A.                                                            11:04

9          Q.   Okay.   And back to the DYI.        You say it's         11:04

10   all the information that Facebook has for you; is                   11:04

11   that correct?                                                       11:04

12         A.   Yes.                                                     11:04

13         Q.   What do you mean by that?                                11:04

14         A.   It includes from things from like the                    11:04

15   information you submitted when you created your                     11:04

16   account, to the photos that you may have uploaded,                  11:04

17   to the pixels of your friends you may have liked, to                11:04

18   the ads you may have seen, the videos you may have                  11:04

19   watched.   It's a -- it's a very lengthy, you know,                 11:04

20   like document with different things.                                11:04

21         Q.                                                            11:04

22                                                                       11:04

23                                                                       11:04

24         A.                                                            11:04

25         Q.   Okay.   Does it include behavioral data?                 11:04

                                                                   Page 98

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 60 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                        11:04

2                                                                        11:05

3    BY MS. WEAVER:                                                      11:05

4          Q.    Okay.    So it includes the conversions and             11:05

5    purchases off Facebook?                                             11:05

6          A.    I don't know about that, but it includes                11:05

7    the apps that you have logged in.          It includes, I           11:05

8    think, the websites that you may have liked, and so                 11:05

9    on.                                                                 11:05

10         Q.    Okay.    Does the Do It Yourself network                11:05

11   include the                                                         11:05

12                                                                       11:05

13               MS. STEIN:     Objection to form.                       11:05

14               THE WITNESS:     I think you're referring to            11:05

15   the DYI file?                                                       11:05

16   BY MS. WEAVER:                                                      11:05

17         Q.    Yes.    I'll ask the question again.      Sorry.        11:05

18               Does the DIY file include                               11:05

19                                                                       11:05

20               MS. STEIN:     Objection to form.                       11:05

21               THE WITNESS:     It should include interests,           11:05

22   which are                     so yes.                               11:05

23   BY MS. WEAVER:                                                      11:05

24         Q.    Does it also include                                    11:05

25               MS. STEIN:     Objection to form.                       11:05

                                                                    Page 99

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 61 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                MS. WEAVER:     What's the objection?                    11:06

2                MS. STEIN:                    is a very vague            11:06

3    term, Lesley.                                                        11:06

4                MS. WEAVER:     No.   It's listed right here             11:06

5    on the document.     So I'm going to restate the                     11:06

6    question.                                                            11:06

7          Q.    Does the DIY tool also include the                       11:06

8                                                                         11:06

9                                                                         11:06

10               MS. STEIN:     Objection to form.                        11:06

11               THE WITNESS:     So I will answer with, you              11:06

12   know, like a high-level understanding that the DYI                   11:06

13   file includes the pages that you liked.               And by         11:06

14   default, that's a behavior.                                          11:06

15   BY MS. WEAVER:                                                       11:06

16         Q.    Does Facebook engage in -- okay.             But         11:06

17   just -- sorry.     Just go back to that question.                    11:06

18               Do you know, as you sit here today,                      11:06

19   whether the DIY tool includes                                        11:06

20                                                                        11:06

21                                                 ?                      11:06

22               MS. STEIN:     Objection to form.                        11:06

23               THE WITNESS:     DYI file includes activities            11:06

24   such as you liking a page that may suggest an                        11:07

25   interest and, by default, explain a behavior or                      11:07

                                                                    Page 100

                                Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 62 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    describe a behavior.                                                11:07

2    BY MS. WEAVER:                                                      11:07

3           Q.    Okay.                                                  11:07

4                                                                        11:07

5                                                                        11:07

6                                                                        11:07

7           Q.    Okay.   Going back to the page ending in               11:07

8    425.    We were near the bottom of the page there.                  11:07

9           A.    Yes.                                                   11:07

10          Q.    Do you see where it says                               11:07

11                                                                       11:07

12          A.    Yes.                                                   11:07

13          Q.    What does that refer to?                               11:07

14          A.                                                           11:07

15                                                                       11:07

16                                                                       11:07

17                THE REPORTER:    I'm sorry,                            11:08

18                                                                       11:08

19                THE WITNESS:    -- and pixel.                          11:08

20                THE REPORTER:    I'm sorry,                            11:08

21                                                                       11:08

22                THE WITNESS:    -- captured through the SDKs           11:08

23   and pixel.                                                          11:08

24                THE REPORTER:    Thank you.                            11:08

25

                                                                 Page 101

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 63 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    BY MS. WEAVER:                                                           11:08

2            Q.     And what is third-party                                   11:08

3    again?                                                                   11:08

4            A.     I think we exhausted that, but I will go                  11:08

5    back to the definition as it's being offered in a                        11:08

6    previous page:                                                           11:08

7                                                                             11:08

8                                                                             11:08

9            Q.     And is that contained in the DYI tool or                  11:08

10   the DYI file?                                                            11:08

11                  MS. STEIN:     Object to form.       Objection to         11:08

12   form.                                                                    11:08

13                  THE WITNESS:     I'm sorry, how can a file                11:08

14   include activities as you have already opted out?                        11:08

15   BY MS. WEAVER:                                                           11:08

16           Q.     Okay.   What I'm asking is whether the DIY                11:08

17   tool collects third-party                                as it's         11:08

18   referred to there?                                                       11:08

19           A.     I'm sorry, I feel like I'm repeating                      11:08

20   myself.       But the DYI file identified the apps that                  11:09

21   you used, the websites that you may have liked and                       11:09

22   so on.       So it captures                         as per --            11:09

23           Q.     Okay.                                                     11:09

24           A.     -- the definition of the previous page.                   11:09

25           Q.     Does it collect all third-party                           11:09

                                                                        Page 102

                                   Veritext Legal Solutions
                                        866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 64 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                        11:09

2               MS. STEIN:      Objection to form.                       11:09

3               THE WITNESS:      All?   I don't know.                   11:09

4    BY MS. WEAVER:                                                      11:09

5          Q.   Yeah.   Okay.                                            11:09

6               How would you find out?                                  11:09

7          A.   I would have to look at the DYI file.                    11:09

8          Q.   Okay.   And have you looked at any DYI                   11:09

9    files to prepare for your deposition today?                         11:09

10         A.   No, I have not, because that would be a                  11:09

11   violation of my commitment to users' privacy.                       11:09

12         Q.   Did you look at DYI files for any of the                 11:09

13   named plaintiffs in this action to prepare for the                  11:09

14   deposition?                                                         11:09

15         A.   No, because that would be in violation of                11:09

16   my commitment to users' privacy.                                    11:09

17         Q.   To prepare --                                            11:10

18         A.   I would be fired --                                      11:10

19         Q.   If your --                                               11:10

20         A.   -- if I look --                                          11:10

21         Q.   If your lawyers had you look at the                      11:10

22   plaintiffs' DYI files to prepare for deposition in                  11:10

23   this action?                                                        11:10

24         A.   I would be fired.                                        11:10

25         Q.   Okay.   Well, we'll table that.                          11:10

                                                               Page 103

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 65 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                Can you look at your --                                   11:10

2          A.    No one here --                                            11:10

3          Q.    Can you look at your own --                               11:10

4          A.    I can only look at mine.                                  11:10

5          Q.    -- DYI -- oh, okay.       So can you look at              11:10

6    your own DYI file to determine whether or not all                     11:10

7    third-party                       is included in it?                  11:10

8          A.    I can, but not right now.                                 11:10

9          Q.    Okay.   Right.                                            11:10

10               Okay.   Give me a moment here.                            11:10

11               Okay.   So let's turn for a moment to the                 11:11

12   page ending in 3428.       It says                    at top.         11:11

13               Do you know who Maritza Johnson is?                       11:11

14         A.    No, I don't.                                              11:11

15         Q.    Okay.   And do you see, it says,                          11:11

16                                                                         11:11

17                                                                         11:11

18                 Do you see that?                                        11:11

19         A.    Yes, I do see that.                                       11:11

20         Q.    So did Facebook track people's -- users'                  11:11

21   location?                                                             11:11

22         A.    Facebook will have an understanding of the                11:11

23   user's location based on different signals.                           11:11

24         Q.    Okay.   And you see here it says -- when                  11:11

25   you say "different signals," what do you mean?                        11:11

                                                                     Page 104

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 66 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          A.     Like if someone is using the app from                  11:11

2    their mobile phone and they have allowed us access                  11:11

3    to their GPS, we would have a precise, you know,                    11:11

4    understanding of that location.           If someone is             11:12

5    accessing Facebook through their computer, we will                  11:12

6    try to determine their location from an IP address                  11:12

7    and so on.                                                          11:12

8          Q.     Okay.     And do you see where it says,                11:12

9                                                                        11:12

10   It's the last bullet point --                                       11:12

11         A.     Ah.                                                    11:12

12         Q.     -- on the top.                                         11:12

13         A.     Yes.                                                   11:12

14         Q.     Okay.     So the question is, what is                  11:12

15                                                                       11:12

16         A.     Could I read the whole thing quickly just              11:12

17   to make sure I'm --                                                 11:12

18         Q.     Absolutely, of course.                                 11:12

19                (Pause while witness peruses document.)                11:12

20         A.     Okay.                                                  11:12

21         Q.     What is                                                11:12

22                MS. STEIN:     I will just instruct the                11:13

23   witness to make sure that you only testify about                    11:13

24   things that you know, and that if there are things                  11:13

25   in this document that you don't know or are not a                   11:13

                                                               Page 105

                                 Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 67 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    company term, to please, you know, tell the                         11:13

2    examiner, because you should not be testifying                      11:13

3    beyond the scope of what your -- what's at issue in                 11:13

4    this deposition and --                                              11:13

5               MS. WEAVER:    This is completely within the             11:13

6    scope, Deb, and that's improper coaching.                           11:13

7          Q.   So, sir, do you know what                                11:13

8    is?                                                                 11:13

9          A.   I think there is an example for                          11:13

10         there.                                                        11:13

11         Q.   I'm sorry?                                               11:13

12         A.                                                            11:13

13                                                                       11:13

14         Q.   Okay.   That's an example of                             11:13

15                                                                       11:13

16         A.   Yes.                                                     11:13

17                                                                       11:13

18                                                                       11:13

19              MS. STEIN:    Objection to form.                         11:13

20                                                                       11:13

21                                                                       11:13

22                                                                       11:14

23                                                                       11:14

24                                                                       11:14

25                                                                       11:14

                                                               Page 106

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 68 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                        11:14

2                                                                        11:14

3                                                                        11:14

4                                                                        11:14

5                                                                        11:14

6                                                                        11:14

7    BY MS. WEAVER:                                                      11:14

8          Q.                                                            11:14

9                                                                        11:14

10                                                                       11:14

11                                                                       11:14

12         A.   Those are things that are --                             11:14

13              MS. STEIN:      Objection to form.                       11:14

14              You may answer.                                          11:14

15                                                                       11:14

16                                                                       11:14

17   BY MS. WEAVER:                                                      11:15

18         Q.   Okay.   So --                                            11:15

19                                                                       11:15

20                                                                       11:15

21                                                                       11:15

22                                                                       11:15

23                                                                       11:15

24                                                                       11:15

25                                                                       11:15

                                                               Page 107

                                Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 69 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                        11:15

2                                                                        11:15

3    BY MS. WEAVER:                                                      11:15

4            Q.      Okay.   And where does that data that --            11:15

5    the                     -- strike that.                             11:15

6                    Where is the                     stored?            11:15

7                                                                        11:15

8                                                                        11:15

9                                                                        11:15

10                                                                       11:15

11                                                                       11:15

12                                                                       11:15

13           Q.      Okay.   And is it contained in the DYI              11:15

14   file?                                                               11:15

15           A.      That -- how is that relevant for you?               11:15

16           Q.      I get to ask the questions.                         11:16

17                                                                       11:16

18                                                                       11:16

19                                                                       11:16

20                                                                       11:16

21                                                                       11:16

22                And so it wouldn't show up in a -- in user's           11:16

23   DYI file.                                                           11:16

24           Q.      Okay.   And when --                                 11:16

25                   MS. STEIN:     I'm just waiting for my feed

                                                                   Page 108

                                    Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 70 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    here.

2                 Oh, could you read his answer back,

3    please.                                                               11:16

4                              (The record was read by the                 11:17

5                              court reporter, as requested)               11:17

6    BY MS. WEAVER:                                                        11:17

7            Q.   And what do you mean by "associated"?                    11:17

8            A.                                                            11:17

9                                                                          11:17

10                                                                         11:17

11           Q.                                                            11:17

12                                                                         11:17

13           A.                                                            11:17

14           Q.                                                            11:17

15           A.                                                            11:17

16                                                                         11:17

17                                                                         11:17

18                                                                         11:17

19           Q.   Right, but it's still one individual.        The         11:17

20   source of the -- the -- originally is one user,                       11:17

21   right?                                                                11:17

22                MS. STEIN:     Objection to form.                        11:17

23   BY MS. WEAVER:                                                        11:17

24           Q.   Because either I live in San Francisco or                11:17

25   I indicated -- I mean, all of this data comes from                    11:17

                                                                     Page 109

                                 Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 71 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    individuals, right?                                                 11:17

2          A.   Some of the data -- sorry.         Again, if --          11:17

3    if it's -- according to the previous definition, if                 11:17

4    it's native data, that means that you have provided                 11:17

5    that information.                                                   11:18

6          Q.   Okay.    So let's -- okay.      Let's talk --            11:18

7          A.   Like you have defined San Francisco --                   11:18

8          Q.   Right.                                                   11:18

9          A.   -- to be your hometown.                                  11:18

10         Q.   Perfect.                                                 11:18

11         A.   Okay.                                                    11:18

12         Q.   So it's associated with me initially,                    11:18

13   right?                                                              11:18

14         A.   You have specifically suggested to your                  11:18

15   Facebook friends by basically filling in that                       11:18

16   specific field that Facebook asked you to do that                   11:18

17   your hometown is San Francisco.        You may live in              11:18

18   Denver, but your hometown appears to be                             11:18

19   San Francisco.                                                      11:18

20         Q.   Okay.                                                    11:18

21                                                                       11:18

22                                                                       11:18

23                                                                       11:18

24                                                                       11:18

25                                                                       11:18

                                                                  Page 110

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 72 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                           11:18

2          Q.   Okay.    I'm just -- honestly, K.P., I'm                    11:18

3    trying to understand your answer.                                      11:18

4               You said the data that we are talking                       11:18

5    about is not associated with specific users.              We           11:18

6    just talked about --                                                   11:19

7          A.   Yes, please.                                                11:19

8          Q.   -- it was associated with an individual                     11:19

9    user because they're from San Francisco.                               11:19

10         A.   Yes.                                                        11:19

11         Q.   So when does it become disassociated?                       11:19

12         A.   But I'm trying to explain to you the                        11:19

13   distinction between data that comes from                               11:19

14          to use your --                                                  11:19

15         Q.   Okay.                                                       11:19

16         A.   -- the definition in this document, versus                  11:19

17                                                                          11:19

18         Q.   Okay.    And --                                             11:19

19         A.   So -- no, no, no, no.        Sorry.       I have to         11:19

20   be super precise here.                                                 11:19

21                                                                          11:19

22                                                                          11:19

23                                                                          11:19

24         Q.   Right.                                                      11:19

25                                                                          11:19

                                                                      Page 111

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 73 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                        11:19

2                                                                        11:19

3                                                                        11:19

4                                                                        11:19

5                                                                        11:19

6                                                                        11:19

7                                                                        11:19

8                                                                        11:19

9                                                                        11:20

10                                                                       11:20

11                                                                       11:20

12                                                                       11:20

13           Q.   I understand.                                          11:20

14                By the way, would you use a different word             11:20

15   than                   Is there another way to reference            11:20

16   that?                                                               11:20

17           A.   I would probably use                                   11:20

18           Q.                                                          11:20

19           A.                                                          11:20

20           Q.   Okay.   Perfect.                                       11:20

21                                                                       11:20

22                                                                       11:20

23                                                                       11:20

24                                                                       11:20

25                                                                       11:20

                                                                Page 112

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 74 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                         11:20

2                                                                         11:20

3                                                                         11:20

4          Q.     Okay.                                                   11:20

5          A.     -- like that.                                           11:20

6          Q.     All right.    And then what about                       11:20

7             is there another term of art at Facebook used               11:20

8    to reference that?                                                   11:20

9          A.     That's my definition of                                 11:20

10         Q.                           Okay.                             11:20

11         A.     Oh, sorry,                                              11:20

12         Q.                  I see.   Okay.                             11:20

13                So going back to what we're talking about,              11:21

14   the --                                                               11:21

15                                                                        11:21

16                                                                        11:21

17                                                                        11:21

18         Q.     Where is that data stored?         Where is the         11:21

19   ad cluster data stored?                                              11:21

20                                                                        11:21

21                                                                        11:21

22                                                                        11:21

23                                                                        11:21

24         A.     Okay.   At the very high level, if we are               11:21

25   talking about the specific scenario that a business                  11:21

                                                                    Page 113

                                Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 75 of 97
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1    that is operating in San Francisco wants to target                  11:21

2    users in San Francisco, they will run the campaign                  11:21

3    for, let's say, two days; they will target specific                 11:21

4    users that live in that area.       They may target only            11:21

5    females or only men, people of a certain age, people                11:21

6    of a certain profession, depending on, you know,                    11:21

7    like, what sort of campaign they want to run, right?                11:21

8               So that will all be effectively identified               11:21

9    as a potential audience of, let's say for the sake                  11:21

10   of the argument, 20,000 users.       They still have no             11:22

11   access to the information.      They only understand                11:22

12   what is the potential audience their ad campaign can                11:22

13   reach.                                                              11:22

14                                                                       11:22

15                                                                       11:22

16                                                                       11:22

17                                                                       11:22

18                                                                       11:22

19                                                                       11:22

20                                                                       11:22

21                                                                       11:22

22                                                                       11:22

23                                                                       11:22

24                                                                       11:22

25                                                                       11:22

                                                                Page 114

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 76 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                                                                            11:22

2          Q.   Okay.     So let me ask this:       So I'm -- say            11:22

3    I'm being targeted in that ad campaign.              Is there a         11:22

4    way for me to find out that I was targeted by those                     11:22

5    categories that the advertiser chose?                                   11:22

6          A.   You can see it only if that ad campaign                      11:23

7    shows up to you.                                                        11:23

8          Q.   Okay.     And only in realtime?       And there's            11:23

9    no record of it after that?                                             11:23

10         A.   I think you can actually see the -- the                      11:23

11   information in realtime.      But if you go to the DYI                  11:23

12   file, you can see probably ad campaigns that you                        11:23

13   have been displayed -- or you have seen yourself, or                    11:23

14   you have clicked.                                                       11:23

15         Q.   Okay.     But if they were --                                11:23

16         A.   You know --                                                  11:23

17         Q.   -- targeted to me and I didn't take an                       11:23

18   action, it's not in the DYI file; is that right?                        11:23

19         A.   You -- you will see the ad campaigns that                    11:23

20   ended up showing up on your feed,                                       11:23

21                                                                           11:23

22                                                                           11:23

23                                                                           11:23

24         Q.   Got it.                                                      11:23

25              And so let's talk about the information                      11:23

                                                                       Page 115

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 77 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    that is used to create the                              How do you         11:23

2    determine what information can be used to apply                            11:24

3    those algorithms?                                                          11:24

4            A.   I need to clarify that question.                              11:24

5            Q.   Yeah, it's --                                                 11:24

6                                                                               11:24

7                 MS. STEIN:      Objection to form.                            11:24

8                 THE WITNESS:      Okay.    So are you talking                 11:24

9    about                                                                      11:24

10                                                                              11:24

11   BY MS. WEAVER:                                                             11:24

12           Q.   Well, what is                                                 11:24

13           A.   I mean, I don't know of any use of                            11:24

14                  , but I'm trying to understand exactly                      11:24

15   how you want me to answer the question in a                                11:24

16   thoughtful way.                                                            11:24

17           Q.   Okay.   Well,                                                 11:24

18                                                       ; is that a            11:24

19   fair definition?                                                           11:24

20           A.                                                                 11:24

21                                                                              11:24

22                                                                              11:25

23                                                                              11:25

24           Q.   That was an example, right?                                   11:25

25           A.   Yes.                                                          11:25

                                                                          Page 116

                                  Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 78 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          Q.   But at large, is it fair to say that                     11:25

2                                                                        11:25

3                                                                        11:25

4               MS. STEIN:     Objection to form.                        11:25

5               THE WITNESS:     I cannot talk about that.               11:25

6                                                                        11:25

7                                                                        11:25

8                                                                        11:25

9                                                                        11:25

10                                                                       11:25

11   BY MS. WEAVER:                                                      11:25

12         Q.   Okay.   So let's -- we can stick with your               11:25

13   example then if you like for now.                                   11:25

14              What if I sent a -- a private -- a message               11:25

15   in Facebook Messenger to one friend saying "I used                  11:25

16   to live in San Francisco" and I've never posted                     11:25

17   anything publicly about it.       Is that information               11:25

18   used to create the derived                                          11:26

19         A.   No.                                                      11:26

20         Q.   Why not?                                                 11:26

21         A.   That's a private conversation between you                11:26

22   and your friend --                                                  11:26

23         Q.   Okay.                                                    11:26

24         A.   -- that --                                               11:26

25         Q.   So how does the algorithm distinguish --                 11:26

                                                               Page 117

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 79 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    let me ask this:         When the data is being run on                      11:26

2    algorithms, is it segregated by public or private                           11:26

3    data?                                                                       11:26

4            A.      So your definition of public or private is                  11:26

5    what, if I may say?                                                         11:26

6            Q.      If a user designated something private or                   11:26

7    restricted audience.                                                        11:26

8            A.      Okay.   Let's take a little bit of a step                   11:26

9    back.        Because what we define as public data is                       11:26

10   basically your first name, your last name, your                             11:26

11   profile picture.                                                            11:26

12           Q.      Okay.                                                       11:26

13           A.      Anything else that comes with a -- an                       11:26

14   audience selection doesn't necessarily belong --                            11:26

15   it's not necessarily by default public.                 It may have         11:26

16   a limited audience.         It may be just you, if it's                     11:26

17   things like your birthday, or it may be friends --                          11:27

18   or accessible to your friends.                                              11:27

19                   What we always, you know, like, like to                     11:27

20   suggest that communications that happen over                                11:27

21   messenger is also by default private, meaning that                          11:27

22   it's -- the content of your exchanges with your                             11:27

23   friends belong to you and your friends.                 So that             11:27

24   wouldn't be considered public information.                 But it           11:27

25   wouldn't be considered necessarily private                                  11:27

                                                                           Page 118

                                  Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 80 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    information because it's not accessible by anybody                    11:27

2    in that -- it's a private conversation but it's not                   11:27

3    private data in that sense.                                           11:27

4          Q.   And when Facebook is, let's say -- we can                  11:27

5    just stick with your                    example.     When it          11:27

6    is using the algorithm to create                       , such         11:27

7    as                 is it using that world of                          11:27

8    information that you just described that is not                       11:27

9    public?                                                               11:27

10                                                                         11:27

11                                                                         11:28

12                                                                         11:28

13         Q.   Okay.    But what I'm trying to say is --                  11:28

14   and I gave you a different example.           So if you               11:28

15   could, just follow my example.        Okay.                           11:28

16         A.   We wouldn't.    I think I made --                          11:28

17         Q.   Okay.                                                      11:28

18         A.   -- that point that --                                      11:28

19         Q.   When I -- when I look --                                   11:28

20         A.   -- you telling your friends you live in                    11:28

21   San Francisco is your business and it's not for us                    11:28

22   to use in any kind of ads.                                            11:28

23         Q.   Okay.    And that's because reading messages               11:28

24   and using that content and making it available to                     11:28

25   advertisers would violate Facebook's policies,                        11:28

                                                                     Page 119

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 81 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    right?                                                              11:28

2            A.   Reading private communications between you             11:28

3    and your friends would be a violation of our                        11:28

4    commitment to your privacy.                                         11:28

5            Q.   Okay.   Switching topics just for a second.            11:28

6                 You know what capabilities are; is that                11:28

7    right?                                                              11:29

8            A.   In what --                                             11:29

9            Q.   In connection with -- in connection with               11:29

10   APIs?                                                               11:29

11           A.   Yes, I do.                                             11:29

12           Q.   Okay.   Sorry.                                         11:29

13                So are you familiar with the read stream               11:29

14   capability?                                                         11:29

15           A.   Read stream is an API but there is an                  11:29

16   associated capabilities.                                            11:29

17           Q.   Yeah.   And what is that?                              11:29

18           A.   It's an API that allows a third party to               11:29

19   access someone's News Feed.                                         11:29

20           Q.   Okay.   And what does "read stream" mean in            11:29

21   particular?                                                         11:29

22           A.   It's a very poorly, you know, like,                    11:29

23   defined --                                                          11:29

24           Q.   It should probably be for the period 2012              11:29

25   to 2017.                                                            11:29

                                                                Page 120

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 82 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          A.   Yes.    So the News Feed is also referred as                11:29

2    stream.                                                                11:29

3          Q.   Uh-huh.                                                     11:29

4          A.   And that API and the corresponding                          11:29

5    capability effectively describes the ability to read                   11:29

6    the stream.                                                            11:29

7          Q.   Okay.                                                       11:29

8          A.   In other words, read the News Feed.                         11:29

9          Q.   Okay.     And are you aware at any point in                 11:30

10   time if third parties were allowed to read Facebook                    11:30

11   Messenger messages?                                                    11:30

12              MS. STEIN:     Objection.                                   11:30

13   BY MS. WEAVER:                                                         11:30

14         Q.   Through -- through API capabilities?                        11:30

15              MS. STEIN:     Objection to form.         And we're         11:30

16   talking about 2012 to 2017.                                            11:30

17              You may answer.                                             11:30

18              THE WITNESS:     Between 2012 and 2017, I                   11:30

19   don't think we made the -- the Messenger API -- the                    11:30

20   current version of the Messenger API available.                        11:30

21              THE REPORTER:     I'm sorry.      That -- that...           11:30

22              THE WITNESS:     So I'm -- between 2012 and                 11:30

23   2017, the current version of the Messenger API was                     11:30

24   not available.     I think the only way for third                      11:30

25   parties to access Messenger was through the Inbox                      11:30

                                                                      Page 121

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 83 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    API.                                                                11:30

2                 MS. WEAVER:   I'm sorry, I just need to                11:30

3    look really quickly.                                                11:31

4           Q.    What is the Inbox API?                                 11:31

5           A.    It's an API that allows a third party to               11:31

6    access a user's Messenger conversation.                             11:31

7           Q.    Okay.   And what do those third parties --             11:31

8    strike that.                                                        11:31

9                 What access were they given to --                      11:31

10          A.    So the third --                                        11:31

11          Q.    -- use Messenger conversation?                         11:31

12          A.    Yeah.   The third parties that had access              11:31

13   to the Inbox API were app third parties that                        11:31

14   replicated core Facebook functionality, including                   11:31

15   messaging.     So we call those integrations device                 11:31

16   integrations because they were replicating                          11:31

17   Facebook -- the Facebook app.                                       11:31

18          Q.                                                           11:31

19                                                                       11:31

20          A.                                                           11:31

21          Q.                                                           11:31

22                                                                       11:32

23          A.                                                           11:32

24                                                                       11:32

25          Q.                                                           11:32

                                                               Page 122

                                Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 84 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1           A.                                                           11:32

2           Q.                                                           11:32

3           A.                                                           11:32

4           Q.                                                           11:32

5           A.                                                           11:32

6                                                                        11:32

7                                                                        11:32

8                                                                        11:32

9           Q.   So I'm going to turn to the page ending                 11:32

10   with 429 now.     It's just the next page of the same               11:32

11   document.                                                           11:32

12               Oh, strike it.    I will move on.                       11:32

13               Going, actually, to the page ending in                  11:33

14   430.    What is                           as used in this           11:33

15   document?                                                           11:33

16          A.   Can I take a quick moment to read the                   11:33

17   document?                                                           11:33

18          Q.   Of course.    Sorry.                                    11:33

19          A.   Thank you.                                              11:33

20               (Pause while witness peruses document.)                 11:33

21          A.   I'm sorry, there's a little bit of                      11:33

22   background noise.     I don't know where it's coming.               11:33

23               MS. WEAVER:    I think that's Ms. Stein.                11:33

24   But maybe not.                                                      11:33

25               MS. STEIN:    Sorry.   Sorry.                           11:33

                                                                 Page 123

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 85 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1               THE WITNESS:     Oh.   Okay.                             11:33

2               MS. STEIN:     I will -- I will mute.     The            11:33

3    gardeners are here.      Hazards of --                              11:33

4               MS. WEAVER:     Yes.                                     11:33

5               MS. STEIN:     -- of COVID.                              11:33

6    BY MS. WEAVER:                                                      11:33

7          Q.   I'm going to direct your attention just to               11:33

8    a few pages here.                                                   11:33

9          A.   Okay.                                                    11:33

10         Q.   Great.                                                   11:33

11                                                                       11:33

12                                                                       11:34

13                                                                       11:34

14         A.                                                            11:34

15                                                                       11:34

16         Q.                                                            11:34

17         A.                                                            11:34

18         Q.                                                            11:34

19                                                                       11:34

20         A.                                                            11:34

21                                                                       11:34

22                                                                       11:34

23         Q.                                                            11:34

24         A.                                                            11:34

25         Q.                                                            11:34

                                                                Page 124

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 86 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          A.                                                            11:34

2                                                                        11:34

3          Q.                                                            11:34

4                                                                        11:34

5          A.                                                            11:34

6          Q.                                                            11:34

7          A.                                                            11:34

8          Q.                                                            11:34

9          A.                                                            11:34

10         Q.                                                            11:34

11                                                                       11:34

12         A.                                                            11:34

13                                                                       11:34

14                                                                       11:35

15                                                                       11:35

16                                                                       11:35

17         Q.   Okay.   And so if you turn to the second                 11:35

18   page here ending in 3431, do you see where it says                  11:35

19                      It's in bold.                                    11:35

20         A.   Yeah.                                                    11:35

21         Q.   Okay.   And then it says,                                11:35

22                                                                       11:35

23                                                                       11:35

24              Do you see that?                                         11:35

25         A.   Yes.                                                     11:35

                                                               Page 125

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 87 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          Q.     Do you -- what is                                      11:35

2          A.                                                            11:35

3                                                                        11:35

4          Q.     And what do you mean by graph?                         11:35

5          A.     Everything at Facebook is the graph.    Any            11:35

6    entity, any connection that's affecting the part of                 11:35

7    the graph.                                                          11:35

8          Q.     Okay.   Is it a relational database?                   11:35

9          A.                                                            11:35

10                                                                       11:35

11                                                                       11:36

12                                                                       11:36

13         Q.                                                            11:36

14                                                                       11:36

15                                                                       11:36

16         A.                                                            11:36

17                                                                       11:36

18         Q.                                                            11:36

19         A.                                                            11:36

20                                                                       11:36

21         Q.                                                            11:36

22                                                                       11:36

23         A.                                                            11:36

24                                                                       11:36

25         Q.                                                            11:36

                                                                Page 126

                               Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 88 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          A.                                                            11:36

2          Q.                                                            11:36

3                                                                        11:36

4          A.                                                            11:36

5          Q.    Okay.   And if I go to delete my Facebook               11:36

6    account, what is deleted?     Is all the data relating              11:36

7    to me deleted?                                                      11:36

8          A.    Your interactions with public entities                  11:36

9    will not be deleted.                                                11:36

10         Q.    So how do you identify all of the data to               11:37

11   delete?                                                             11:37

12         A.    My -- my response would be anything that                11:37

13   lives in the "Download Your Information" file is                    11:37

14   going to disappear.                                                 11:37

15         Q.    What about all the rest of the data in the              11:37

16   graph?                                                              11:37

17         A.    Again, the only exception here would be,                11:37

18   you know, like, your interactions with public                       11:37

19   entities.    If you end -- ended up commenting on                   11:37

20   United's page you didn't like their service, that                   11:37

21   is, by default, public and is not personal                          11:37

22   information.     And, to some extent, it belongs also               11:37

23   to United because you did that on their entity.                     11:37

24         Q.    So --                                                   11:37

25         A.    But pretty much every -- everything else                11:37

                                                               Page 127

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 89 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    that is associated to you will be deleted.                           11:37

2          Q.   Okay.     And when you say "is associated to              11:37

3    me," what do you mean?                                               11:37

4          A.                                                             11:37

5          Q.                                                             11:37

6          A.                                                             11:38

7                                                                         11:38

8          Q.                                                             11:38

9                                                                         11:38

10         A.                                                             11:38

11         Q.                                                             11:38

12         A.                                                             11:38

13                                                                        11:38

14                                                                        11:38

15                                                                        11:38

16         Q.   Okay.     You -- you referred earlier to data             11:38

17   that is not associated with individuals.              Do you         11:38

18   recall that?                                                         11:38

19         A.   I need to play back my -- you know, like,                 11:38

20   my sentence.      Okay.   What about it?                             11:38

21         Q.   You -- okay.      So there is data that is not            11:38

22   associated with individual users; is that right?                     11:38

23         A.   Overall?                                                  11:38

24         Q.   Yes.                                                      11:38

25         A.   Yes, we -- we do have some information                    11:38

                                                                    Page 128

                                Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 90 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1    that is not associated with specific users.                          11:38

2           Q.   Right.                                                   11:38

3           A.   Like United's page on Facebook is not                    11:38

4    associated with specific users.                                      11:38

5           Q.   Okay.     We'll put a pin in this and we'll              11:38

6    come back to it.       Because I think really drilling in            11:39

7    on what Facebook can identify about me specifically                  11:39

8    is at the heart of this deposition.                                  11:39

9                Okay.     So going back to                               11:39

10                      Do you see the bullet point below?     It         11:39

11   says                                   Do you see that?              11:39

12          A.   Yes.                                                     11:39

13          Q.                                                            11:39

14                                                                        11:39

15                                                                        11:39

16                                                                        11:39

17               Do you see that?                                         11:39

18          A.   Yes.                                                     11:39

19          Q.   What is the Privacy XFN team?                            11:39

20          A.   It's a team that we have that reviews                    11:39

21   every single product that we are launching from a                    11:39

22   privacy perspective.                                                 11:39

23          Q.   Okay.     And what is a                   ?              11:39

24          A.                                                            11:39

25                                                                        11:39

                                                                    Page 129

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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 91 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          Q.     Okay.                                                  11:39

2                                                                        11:39

3                                                                        11:40

4                                                                        11:40

5          Q.     Who would know?                                        11:40

6          A.     I don't know.                                          11:40

7          Q.     Who at Facebook was in charge for                      11:40

8                                                                        11:40

9          A.     I don't know.                                          11:40

10         Q.     Who is Emily Sharpe?                                   11:40

11         A.     I -- I don't know.     I've heard that name            11:40

12   just recently.                                                      11:40

13         Q.     Okay.    So I'd like for you to turn to the            11:40

14   next page.     It says                                              11:40

15                                                                       11:40

16                        Do you see that?                               11:40

17         A.     Yes.                                                   11:40

18         Q.     And this is page 3433.                                 11:40

19                Who is Travis Bright?                                  11:40

20         A.     I don't know.                                          11:40

21         Q.     Okay.    So I'm going to direct your                   11:40

22   attention to the last paragraph there where it says,                11:40

23   it begins,                                                          11:40

24                                                                       11:41

25                Do you see that?                                       11:41

                                                                Page 130

                                Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 92 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1           A.   And you said next page?                                 11:41

2           Q.   I'm on the -- sorry.     I'm on the bottom              11:41

3    paragraph on the page ending with 3433.                             11:41

4           A.   Oh, okay.                                               11:41

5                Sorry, which sentence?                                  11:41

6           Q.   Well, let's do this.     Do you see where it            11:41

7    says                                                                11:41

8           A.   Yes.                                                    11:41

9           Q.   Okay.   So there it says,                               11:41

10                                                                       11:41

11                                                                       11:41

12                                                                       11:41

13               Do you see that?                                        11:41

14          A.   Yes.                                                    11:41

15          Q.   And it says a little bit lower there,                   11:41

16                                                                       11:41

17                                                                       11:41

18                                                                       11:41

19               Do you see that?                                        11:41

20          A.   Yes.                                                    11:41

21                                                                       11:41

22                                                                       11:41

23                                                                       11:41

24                                                                       11:42

25                                                                       11:42

                                                                Page 131

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 93 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          Q.   What is                                                  11:42

2                                                                        11:42

3                                                                        11:42

4                                                                        11:42

5          Q.   Got it.                                                  11:42

6               And then looking forward, it says,                       11:42

7                                                                        11:42

8                                                                        11:42

9               Do you see that?                                         11:42

10         A.   Let me see.    Where are you now?                        11:42

11         Q.   I'm sorry.    It's two sentences -- here,                11:42

12   I'll go at the sentence ahead.                                      11:42

13                                                                       11:42

14                                                                       11:42

15                                                                       11:42

16                                                                       11:42

17              Do you see that?                                         11:42

18         A.   Yes.                                                     11:42

19         Q.   And then it says,                                        11:42

20                                                                       11:42

21                                                                       11:42

22              Do you see that?                                         11:42

23         A.   Yes.                                                     11:42

24         Q.   Do you have any familiarity with                         11:42

25                                                                       11:42

                                                               Page 132

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 94 of 97
                 HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1          A.   No.                                                      11:42

2          Q.   Okay.   Now, it -- it's referring to                     11:42

3                                                                        11:43

4                Do you see that?                                        11:43

5          A.   Yes, I do see that.                                      11:43

6          Q.   Does Facebook do that?                                   11:43

7          A.                                                            11:43

8          Q.                                                            11:43

9          A.                                                            11:43

10                                                                       11:43

11         Q.                                                            11:43

12         A.                                                            11:43

13                                                                       11:43

14                                                                       11:43

15         Q.                                                            11:43

16                                                                       11:43

17                                                                       11:43

18                                                                       11:43

19                                                                       11:43

20                                                                       11:43

21                                                                       11:43

22                                                                       11:43

23                                                                       11:43

24                                                                       11:43

25                                                                       11:43

                                                               Page 133

                              Veritext Legal Solutions
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     Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 95 of 97
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1               THE REPORTER:    Thank you.                              11:43

2    BY MS. WEAVER:                                                      11:43

3          Q.                                                            11:43

4                                                                        11:43

5                                                                        11:43

6          A.                                                            11:43

7                                                                        11:43

8          Q.                                                            11:43

9                                                                        11:43

10                                                                       11:44

11         A.                                                            11:44

12         Q.                                                            11:44

13                                                                       11:44

14         A.                                                            11:44

15         Q.                                                            11:44

16         A.                                                            11:44

17         Q.   Okay.   So here, going back to the                       11:44

18   paragraph where we started, it says "The next step                  11:44

19   up from this is sharing of anonymized, aggregated,                  11:44

20   or hashed data."                                                    11:44

21              Do you see that?                                         11:44

22         A.   Yes.                                                     11:44

23         Q.                                                            11:44

24         A.                                                            11:44

25                                                                       11:44

                                                               Page 134

                              Veritext Legal Solutions
                                   866 299-5127
Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 96 of 97



                Federal Rules of Civil Procedure

                                Rule 30



   (e) Review By the Witness; Changes.

   (1) Review; Statement of Changes. On request by the

   deponent or a party before the deposition is

   completed, the deponent must be allowed 30 days

   after being notified by the officer that the

   transcript or recording is available in which:

   (A) to review the transcript or recording; and

   (B) if there are changes in form or substance, to

   sign a statement listing the changes and the

   reasons for making them.

   (2) Changes Indicated in the Officer's Certificate.

   The officer must note in the certificate prescribed

   by Rule 30(f)(1) whether a review was requested

   and, if so, must attach any changes the deponent

   makes during the 30-day period.




   DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

   ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

   THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

   2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

   OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case 3:18-md-02843-VC Document 910-3 Filed 04/11/22 Page 97 of 97

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    COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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as submitted by the court reporter. Veritext Legal
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documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
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